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                                                       PRIME SUB DIRECT                                                                                                                                                                   AWARDED        ORG
1    PROGRAM OFFICE                CORP PROGRAM CODE   INDICATOR          PROGRAM TYPE    GRANT NUMBER      ORGANIZATION                                    PROJECT                                                FEDERAL FUNDING        PARTICIPANTS   STATE   ORG CITY
2    AmeriCorps VISTA              VISTAS              Direct             Support Grant   14VSWKS002        UNIFIED GOVERNMENT OF WYANDOTTE COUNUnified Government of Wyandotte County VISTA Projec                             158,555               47 KS      Kansas City
3    AmeriCorps State and National STATE               Commission Sub     Formula         20AFHGA0010026    ONE WORLD LINK , INC.                           Rural Georgia AmeriCorps Program                                    669,980               27 GA      Atlanta
4    AmeriCorps State and National STATE               Commission Sub     Formula         20AFHGU0010009    Todu Guam Foundation, Ltd.                      AmeriCorps Todu Guam Foundation                                     180,000               20 GU      Tamuning
5    AmeriCorps State and National STATE               Commission Sub     Formula         20AFHWA0010015    Washington Association of Child Advocate Prog Washington Association of Child Advocate Programs                     389,888               15 WA      Seatac
6    AmeriCorps State and National EAS                 Commission Sub     Competitive     20ESHNY0010006    City of New York Office of Mayor                NYC Civic Corps                                                     967,680               64 NY      New York
7    AmeriCorps State and National EAS                 Commission Sub     Formula         20FXHMS0020001    Grenada School District                         Grenada School District                                             667,000               29 MS      Grenada
8    AmeriCorps State and National STATE               Commission Sub     Competitive     21ACBMD0010013    The Maryland Institute                          Community Art Collaborative                                         370,856               15 MD      Baltimore
9    AmeriCorps State and National STATE               Commission Sub     Competitive     21ACBPA0010006    Literacy Pittsburgh                             Compass AmeriCorps                                                  338,708               20 PA      Pittsburgh
10   AmeriCorps State and National STATE               Commission Sub     Competitive     21ACCIL0020003    IL Bar Foundation                               Illinois JusticeCorps                                               411,018               28 IL      Chicago
11   AmeriCorps State and National STATE               Commission Sub     Competitive     21ACCMI0010014    Albion College                                  Albion College AmeriCorps                                           234,249               43 MI      Albion
12   AmeriCorps State and National STATE               Commission Sub     Competitive     21ACEWI0010006    Racine Zoological Society, Inc.                 Racine Zoo AmeriCorps Program                                       208,911               15 WI      Racine
13   AmeriCorps State and National STATE               Commission Sub     Competitive     21ACFVT0010002    Vermont Youth Conservation Corps Inc            Community Impact: Conservation and Agriculture Ame                  517,353               80 VT      Richmond
14   AmeriCorps State and National STATE               Commission Sub     Competitive     21ACICA0010015    Breakthrough Silicon Valley                     Breakthrough Silicon Valley                                         490,100               60 CA      San Jose
15   AmeriCorps State and National EAS                 Commission Sub     Formula         21AFCIL0020001    Relay Graduate School of Education              AmeriCorps Relay Teaching Program Chicago (ARTPC)                   135,000              200 NY      New York
16   AmeriCorps State and National STATE               Commission Sub     Formula         21AFCIN0010007    Scott County School District 2                  Scott County School District 2                                      143,071               21 IN      Scottsburg
17   AmeriCorps State and National STATE               Commission Sub     Formula         21AFCIN0020012    Burmese American Community Institute            Burmese American Community Institute                                 76,500                0 IN      Indianapolis
18   AmeriCorps State and National STATE               Commission Sub     Formula         21AFCIN0020013    Hoosier Community Network, Inc                  Hoosier Community Network, Inc                                       76,200                0 IN      Ellettsville
19   AmeriCorps State and National STATE               Commission Sub     Formula         21AFCMI0010025    Hope Network West Michigan                      MEC Math Corps and MEC Scholars AmeriCorps Progra                   199,636               57 MI      Grand Rapids
20   AmeriCorps State and National STATE               Commission Sub     Formula         21AFCOH0010019    Horizon Education Centers                       Preventing Childhood Obesity                                        153,531               20 OH      North Olmsted
21   AmeriCorps State and National STATE               Commission Sub     Formula         21AFCOH0010025    COUNTY OF HAMILTON, OHIO                        ORBCorps                                                            161,448                6 OH      Cincinnati
22   AmeriCorps State and National STATE               Commission Sub     Formula         21AFDCO0010016    United Way of Southwest Colorado Inc            Team UP AmeriCorps                                                  299,650               16 CO      Durango
23   AmeriCorps State and National STATE               Commission Sub     Formula         21AFEKS0010017    Fort Hays State University                      Fort Hays State University Planning Grant                           100,000                0 KS      Hays
24   AmeriCorps State and National STATE               Commission Sub     Formula         21AFEWI0010013    City of Green Bay                               City of Green Bay                                                   367,040               33 WI      Green Bay
25   AmeriCorps State and National STATE               Commission Sub     Formula         21AFEWI0010022    Improve Your Tomorrow                           IYT College Academy Wisconsin                                        75,000                0 CA      Sacramento
26   AmeriCorps State and National STATE               Commission Sub     Formula         21AFHFL0010014    FLORIDA DEPARTMENT OF ENVIRONMENTAL PFlorida Conservation Corps AmeriCorps                                        1,540,037               65 FL      Tallahassee
27   AmeriCorps State and National STATE               Commission Sub     Formula         21AFHFL0010021    Greater Miami Service Corps.                    Greater Miami Service Corps.                                        297,000               21 FL      Miami
28   AmeriCorps State and National EAS                 Commission Sub     Formula         21FXICA0010025    University of California, Davis                 Regents of the University of California, Davis II                       -                160 CA      Davis
29   AmeriCorps State and National EAS                 Commission Sub     Formula         21FXICA0010029    CAL POLY HUMBOLDT SPONSORED PROGRAMHumboldt College Corps                                                               -                115 CA      Arcata
30   AmeriCorps State and National EAS                 Commission Sub     Formula         21FXICA0010032    NOTRE DAME MISSION VOLUNTEER CORPORANotre Dame Mission Volunteers, Inc.                                             877,018               39 MD      Baltimore
31   AmeriCorps State and National STATE               Commission Sub     Competitive     22ACDAZ0020002    Arizona State University                        BE SAGE: COVID-19 Mitigation for Vulnerable Early Chi               269,220               58 AZ      Tempe
32   AmeriCorps State and National STATE               Commission Sub     Competitive     22ACDCO0010003    Trailhead Institute                             Colorado Public Health Works                                        755,152               36 CO      Denver
33   AmeriCorps State and National STATE               Commission Sub     Competitive     22ACFNY0010005    CITY OF ROCHESTER CITY HALL                     Flower City Public Health Corps                                     728,951               30 NY      Rochester
34   AmeriCorps State and National STATE               Commission Sub     Competitive     22ACFNY0010007    Rural Health Network of SCNY, Inc., The         Rural Health Network of South Central New York                      647,910               40 NY      Binghamton
35   AmeriCorps State and National STATE               Commission Sub     Competitive     22ACIGU0010001    DEPARTMENT OF PUBLIC HEALTH AND SOCIALPublic Health AmeriCorps Centralized Call Center                            1,080,000               80 GU      Hagatna
36   AmeriCorps State and National STATE               Commission Sub     Formula         22AFBPA0010013    United Way of the Greater Lehigh Valley         UWGLV Community Resource Navigator AmeriCorps                       116,222               10 PA      Allentown
37   AmeriCorps State and National STATE               Commission Sub     Formula         22AFBPA0010015    Trustees of the University of Pennsylvania, The Next Steps AmeriCorps Program                                       805,642               89 PA      Philadelphia
38   AmeriCorps State and National STATE               Commission Sub     Formula         22AFBPA0010023    MICHAELS COMMUNITY SERVICES CORPORATPlanning Grant Better Tomorrows                                                  60,420                0 NJ      Camden
39   AmeriCorps State and National STATE               Commission Sub     Formula         22AFBPA0010024    UNIVERSITY OF PITTSBURGH - OF THE COMMOPLANNING GRANT - UNIVERSITY OF PITTSBURGH - OF                                69,101                0 PA      Pittsburgh
40   AmeriCorps State and National STATE               Commission Sub     Formula         22AFBPR0010007    Instituto Psicopedagogico De Puerto Rico        Let's Move! Health Promotion Program for Adults with I              143,602               18 PR      Bayamon
41   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFCT0010001    Office of Higher Education                      Placeholder CT Cost Reimbursement                                   392,078                0 CT      Hartford
42   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFCT0010012    Campus Compact                                  College Renaissance Corps Connecticut (CRCorps CT)                  472,492               25 MA      Boston
43   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFMA0010019    Greenagers, Inc.                                Greenagers, Inc.                                                    291,854               17 MA      South Egremont
44   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFMA0010021    LUK Crisis Center, Inc.                         LUK Thrive Ambassadors                                              314,998               18 MA      Fitchburg
45   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFNH0010006    New Hampshire Sustainable Energy AssociationCommunity Energy Savings                                                 64,509                0 NH      Concord
46   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFNY0010009    St. Nicks Alliance Corp.                        Reconnecting Youth through Career GPS                               594,000               34 NY      Brooklyn
47   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFNY0010010    County of Oswego                                Oswego AmeriCorps Program                                           349,546               67 NY      Oswego
48   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFNY0010025    Reading & Math, Inc.                            New York Early Learning Corps & Math Corps                          675,000               40 MN      Minneapolis
49   AmeriCorps State and National STATE               Commission Sub     Formula         22AFFNY0010026    St. Nicks Alliance Corp.                        Reconnecting Youth Through Social Emotional Wellnes                 634,500               36 NY      Brooklyn
50   AmeriCorps State and National STATE               Commission Sub     Formula         22AFGTX0010024    Homeward Bound, Inc.                            Homeward Bound Inc. II                                              269,225               10 TX      Dallas
51   AmeriCorps State and National STATE               Commission Sub     Formula         22AFINV0010006    Nevada Outdoor School                           Nevada Outdoor Schools AmeriCorps Program                           288,246               19 NV      Winnemucca
52   AmeriCorps State and National STATE               Commission Sub     Formula         22AFINV0010007    United Way of Northern Nevada and the Sierra UWNNS United Readers                                                   489,236               40 NV      Reno
53   AmeriCorps State and National STATE               Commission Sub     Formula         22AFINV0010014    Improve Your Tomorrow                           IYT College Academy Nevada Planning Grant                           150,000                0 CA      Sacramento
54   Days of Service               IPB                 Direct                             22BICMI001        MICHIGAN DEPARTMENT OF LABOR AND ECONSeptember 11 Day of Service and Remembrance Projec                             168,748                  MI      Okemos
55   Research                      RES                 Direct                             22REACO001        UNIVERSITY OF DENVER                            University of Denver (Colorado Seminary) II                         349,041                  CO      Denver
56   AmeriCorps VISTA              VISTAS              Direct             Standard        22VSCIL008        Land of Lincoln Legal Aid                       Land of Lincoln Legal Aid                                               -                  7 IL      East Saint Louis
57   AmeriCorps State and National STATE               Commission Sub     Competitive     23ACEMO0010012    UNIVERSITY OF MISSOURI SYSTEM                   Missouri College Advising Corps                                     799,537               36 MO      Columbia
58   AmeriCorps State and National STATE               Commission Sub     Formula         23AFCIL0010009    Rend Lake College                               Rend Lake College (AmeriCorps in Souther                            374,000               40 IL      Ina
59   AmeriCorps State and National STATE               Commission Sub     Formula         23AFCIL0010018    Greater Chicago Food Depository                 Greater Chicago Food Depository                                     159,582               17 IL      Chicago
60   AmeriCorps State and National STATE               Commission Sub     Formula         23AFHAL0010010    University of North Alabama                     UNA AmeriCorps Fostering Success                                    180,615               20 AL      Florence
61   AmeriCorps State and National STATE               Commission Sub     Formula         23AFHGA0010009    UNITED WAY OF THE CHATTAHOOCHEE VALLEAmeriCorps: UWCV 211 Community Resource Center                                 135,000                8 GA      Columbus
62   AmeriCorps State and National STATE               Commission Sub     Formula         23AFHGA0010013    COMMUNITIES IN SCHOOLS OF GEORGIA INC CIS of GA AmeriCorps Foundations Tutorial Program                             193,791               24 GA      Atlanta
63   AmeriCorps State and National STATE               Commission Sub     Formula         23AFICA0010018    Public Health Institute                         CivicSpark                                                        2,970,000              115 CA      Oakland
64   AmeriCorps State and National STATE               Commission Sub     Formula         23AFIWA0010014    UNITED WAY OF BENTON AND FRANKLIN COU Attendance Matters AmeriCorps                                                 324,000               20 WA      Kennewick




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65 AmeriCorps State and National EAS           Commission Sub   Competitive     23ESCKY0010001    UNLAWFUL NARCOTICS INVESTIGATIONS, TREOperation UNITE Service Corps                                           975,000        56 KY       Somerset
66 Days of Service               MLK           Direct                           23MKBNJ002        Jersey Cares                                 Jersey Cares Dr. Martin Luther King Jr. Day of Service           100,977           NJ       Livingston
67 AmeriCorps State and National TRIBES        Direct           Competitive     23TNESD001        Families Working Together, Inc.              Lakota Reads                                                     620,261        46 WI       Barneveld
68 Volunteer Generation Fund     VGF           Direct                           23VGFMA002        MASSACHUSETTS SERVICE ALLIANCE, INC          Massachusetts Volunteer Generation Initiative                    433,452           MA       Boston
69  Volunteer Generation Fund     VGF          Direct                           23VGINV001        NEVADA VOLUNTEERS                            Volunteer Generation Fund ARPA Funds Student Succe               248,733           NV       Reno
70  AmeriCorps VISTA              VISTAS       Direct           Standard        23VSCIL007        The Chicago Tool Library Co                  Chicago Tool Library: West Side Outreach & Developme                 -           2 IL       Chicago
71  AmeriCorps VISTA              VISTAS       Direct           Standard        23VSCMI007        NATIONAL ASSOCIATION FOR THE ADVANCEM Greater Grand in Rapids Branch NAACP                                        -           4 MI       Grand Rapids
72  AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSHNC002        Diaper Bank of North Carolina                Diaper Bank of North Carolina                                     25,000         5 NC       Hillsborough
73  AmeriCorps State and National STATE        Commission Sub   Competitive     24ACBPA0010002    KEYSTONE SMILES COMMUNITY CENTER             Keystone SMILES/AmeriCorps                                     2,057,557       171 PA       Knox
74  AmeriCorps State and National STATE        Commission Sub   Competitive     24ACICA0010003    Prevent Child Abuse - California             Prevent Abuse Through Home Visitation (PATH)                     650,000        32 CA       North Highlands
 75 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010005    COUNTY OF INGHAM                             Healthy Home Restore Corps (ICHD AmeriCorps State                269,985        10 MI       Lansing
 76 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010009    Parental Support Services AZ Inc             Rest Recovery                                                    196,144         8 AZ       Phoenix
 77 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEND0010003    Sanford Bismarck                             Sanford Dickinson Check & Connect Mentorship                      41,908         8 ND       Bismarck
 78 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHNC0010005    BIG BROTHERS/BIG SISTERS OF WESTERN NO Project MARS/AmeriCorps                                              1,003,319        55 NC       Asheville
 79 AmeriCorps State and National EAS          Commission Sub   Formula         24FXHNC0010002    Conserving Carolina                          AmeriCorps Project Conserve-EAS                                  796,770        38 NC       Hendersonville
 80 AmeriCorps Seniors            RSVP         Direct           Non-stipended   24SRHSC008        Lancaster County Council on Aging, Inc.      Lancaster County Retired and Senior Volunteer Program             75,000       250 SC       Lancaster
 81 AmeriCorps VISTA              VISTAS       Direct           Support Grant   12VSSMS007        Mississippi State University                 Maroon Volunteer Center                                           40,000         8 MS       Mississippi State
 82 AmeriCorps VISTA              VISTAS       Direct           Support Grant   15VSNOH001        Neighborhood Reinvestment Corporation        NeighborWorks VISTA Program                                      130,000        31 DC       Washington
 83 AmeriCorps VISTA              VISTAS       Direct           Support Grant   18VSPID004        Jesse Tree of Idaho, Inc., The               The Jesse Tree of Idaho                                           40,000         4 ID       Boise
 84 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSANJ010        New Jersey YMCA State Alliance, Inc.         Convene, Connect, Empower                                         15,000         5 NJ       Trenton
 85 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSWAR012        Southern Arkansas University                 Southern Arkansas University VISTA                                90,000       130 AR       Magnolia
 86 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHCA0010017    Imperial County Office of Education          Borderlands                                                    1,116,346        44 CA       El Centro
 87 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSNIL002        YOUNG MEN'S CHRISTIAN ASSOCIATION OF THUniversity YMCA VISTA Project                                           10,000         8 IL       Champaign
 88 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCMI0010007    Peckham Vocational Industries, Inc.          Economic Opportunity Coaching Program                            229,652        14 MI       Lansing
 89 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCOH0010021    DEPARTMENT OF NATURAL RESOURSES              Ohio OutdoorCorps                                                330,411        37 OH       Columbus
 90 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEIA0010026    Iowa Department of Health and Human Service Iowa Department of Health and Human Services                      100,000         0 IA       Des Moines
 91 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEWI0010021    University of Wisconsin System               Wisconsin 4-H Program Expanding Access                           540,740        45 WI       Madison
 92 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHFL0010016    BIG BROTHERS BIG SISTERS OF ST. LUCIE, IND BBBS Reads                                                         291,325        28 FL       Fort Pierce
 93 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010003    Able South Carolina                          Able South Carolina II                                           220,445        13 SC       Columbia
 94 AmeriCorps State and National EAS          Commission Sub   Formula         21FXGTX0010001    Generation Teach Inc.                        Generation Teach Inc. Texas                                          -           0 MA       Boston
 95 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010004    RIVERSIDE COMMUNITY COLLEGE DISTRICT Riverside City College College Corps                                         -          45 CA       Riverside
 96 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010014    Shasta-Tehama-Trinity Joint Community Colleg Shasta-Tehama-Trinity Joint Community College Distric                -          54 CA       Redding
 97 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSDMT002        STATE OF MT DEPT HEALTH AND HUMAN SERV Montana Community VISTA Partnership- MT DPHHS                           85,000        27 MT       Helena
 98 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSDUT001        Utah State University                        Utah State University-Public School Partnership IV               150,000        18 UT       Logan
 99 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSEMN005        MINNESOTA COUNCIL OF NONPROFITS, INC. Minnesota Council of Nonprofits II                                       85,499         6 MN       Saint Paul
100 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSFNH001        Coalition for the Common Good                Anti-Poverty Participatory Design with (not for) Commu            80,500         9 NH       Keene
101 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSGTX003        Texas Tribal Buffalo Project                 Texas Tribal Buffalo Project                                      40,000         7 TX       Waelder
102 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACFNY0010003    City of New York Office of Mayor             New York City Office of the Mayor II                           1,607,002        60 NY       New York
103 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010020    OLIVET BOYS AND GIRLS CLUB OF READING & Olivet Boys and Girls Club                                             53,476         0 PA       Reading
104 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010021    CASA INC                                     Workforce and Economic Empowerment - AmeriCorps                  498,467        28 MD       Hyattsville
105 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010010    MUJERES DE ISLAS, INC                        Culebra: Una Comunidad Sostenible y Segura                        76,523        11 PR       Culebra
106 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010001    Aspire! Afterschool Learning                 Learning Links AmeriCorps                                        457,181        25 VA       Arlington
107 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFCT0010010    CONNECTICUT RISE NETWORK, INC                CONNECTICUT RISE NETWORK, INC                                     74,103         0 CT       New Haven
108 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFCT0010011    Campus Compact                               Campus Compact EnviroCorps CT                                    461,143        40 MA       Boston
109 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010012    New York-New Jersey Trail Conference         NY-NJ Trail Conference Conservation Corps NY                     664,137        46 NJ       Mahwah
110 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010020    New York Edge, Inc.                          AmeriCorps at The Excellence Project                             270,000        20 NY       Woodside
111 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010028    Sunset Park Health Council, Inc.             Sunset Park Food Access Corps                                    270,000        10 NY       Brooklyn
112 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGMS0010012    REFILL JACKSON INITIATIVE                    REFILL JACKSON INITIATIVE                                        114,244        14 MS       Jackson
113 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010011    Boys Club of Pharr, Inc.                     BOYS & GIRLS CLUB OF PHARR                                       782,651        38 TX       Pharr
114 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010023    West Texas A & M University                  WTAMU - Panhandle Community Resilience Corps                     661,749        68 TX       Canyon
115 AmeriCorps State and National EAS          Commission Sub   Formula         22FXCKY0010004    Teach Kentucky Inc                           Teach Kentucky, Inc.                                              53,000        63 KY       Louisville
116 AmeriCorps State and National EAS          Commission Sub   Formula         22FXFCT0020002    NEW ENGLAND SCIENCE & SAILING FOUNDAT New England Science & Sailing Foundation                                270,000        10 CT       Stonington
117 AmeriCorps State and National EAS          Commission Sub   Formula         22FXIWA0010001    College Success Foundation                   College and Career Coaches Program                               297,000        11 WA       Bellevue
118 AmeriCorps Seniors            SDP          Direct           Stipended       22SDFMA001        LITERATIONS CORP.                            LITERATIONS CORP.                                                    -          62 MA       Boston
119 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACBPR0010001    OFICINA PARA LA PROMOCION Y EL DESARRO Oficina Promocion y Desarrollo Humano                                   63,651         4 PR       Arecibo
120 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010020    Severson Dells Education Foundation          Habitat Restoration and Education in north central Illin         227,987        12 IL       Rockford
121 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010008    Hindman Settlement School                    Hindman Settlement School Math Corps                             498,343        23 KY       Hindman
122 AmeriCorps State and National STATE        Commission Sub   Formula         23AFEMO0010003    DEPARTMENT OF ECONOMIC DEVELOPMENT MFY23 Formula Placeholder                                                  300,000         0 MO       Jefferson City
123 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010005    BAY AREA COMMUNITY RESOURCES, INC.           California Climate Action Corps                                5,250,495       345 CA       San Rafael
124 AmeriCorps State and National EAS          Commission Sub   Formula         23FXDID0010001    THE STUDENT CONSERVATION ASSOCIATION, SCA Idaho AmeriCorps Fixed Grant                                        243,000        18 VA       Arlington
125 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFME0010004    Main Street Skowhegan                        Main Street Skowhegan                                            216,000         8 ME       Skowhegan
126 AmeriCorps State and National EAS          Commission Sub   Formula         23FXHSC0010001    CivicWell                                    CivicSpark South Carolina                                            -           0 CA       Sacramento
127 Volunteer Generation Fund     VGF          Direct                           23VGGMS001        THE UNIVERSITY OF MISSISSIPPI                MiSsion Acceleration University of Mississippi                   245,121           MS       University
128 Volunteer Generation Fund     VGF          Direct                           23VGICA002        Napa County Office of Education              Napa County Office of Education                                  270,829           CA       Napa
129 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSHFL004        READ USA, Inc.                               READ USA Capacity and Sustainability                              30,000         6 FL       Jacksonville




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130 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSHTN001        Knoxville Knox County Community Action CommKnoxville Knox County Community Action Committee                          45,000        19 TN       Knoxville
131 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSIHI002        County of Hawaii                                   Regenerative Governance for Community Self-Sufficien              40,000        10 HI       Hilo
132 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACCMI0010003    Michigan College Access Network                    Michigan College Access Network - AdviseMI                     1,326,566        86 MI       Lansing
133 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010002    Rutgers The State University                       Rutgers Accelerate and Renew Academy (RARA)                       85,000         0 NJ       Camden
134 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010012    AMERICAN LITTORAL SOCIETY INC                      American Littoral Society Inc                                     84,963         0 NJ       Highlands
135 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010015    BOXWOOD LEARNING CENTER INC                        Boxwood Learning Center                                          256,291        16 NJ       Roselle
136 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010006    STATE BOARD FOR COMMUNITY COLLEGES ANYVPS3 Homegrown Pathways                                                       109,180         0 CO       Rangely
137 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010009    Uviation World Water, Inc.                         Uviation World Water Inc                                         249,963        10 CO       Canon City
138 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEIA0010005    IOWA STATE UNIVERSITY OF SCIENCE AND TECIowa AmeriCorps 4H Outreach Program                                         642,817        47 IA       Ames
139 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEKS0010003    UNIFIED SCHOOL DISTRICT 260                        AmeriCorps Derby                                                 100,000        38 KS       Derby
140 AmeriCorps State and National STATE        Commission Sub   Formula         24AFIOR0010001    HIGHER EDUCATION COORDINATING COMMISPlaceholder OR Planning                                                         133,008         0 OR       Salem
141 AmeriCorps State and National EAS          Commission Sub   Formula         24FXEIA0010002    SEED COALITION                                     Iowa College Corps AmeriCorps                                    385,290        76 MN       Minneapolis
142 AmeriCorps VISTA              VISTAS       Direct           Support Grant   11VSPUT001        UTAH DEPARTMENT OF WORKFORCE SERVICEUtah Refugee VISTA Project                                                       20,000        16 UT       Salt Lake City
143 AmeriCorps VISTA              VISTAS       Direct           Support Grant   14VSANY002        The New York Immigration Coalition, Inc.           Immigration-Focused CBO Capacity Building                         60,000        21 NY       New York
144 AmeriCorps VISTA              VISTAS       Direct           Support Grant   15VSPUT002        MOAB FREE HEALTH CLINIC                            Canyonlands AmeriCorps VISTA Project                              35,000         4 UT       Moab
145 AmeriCorps VISTA              VISTAS       Direct           Support Grant   16VSSFL008        Feeding America Tampa Bay, Inc.                    Feeding Tampa Bay VISTA Project                                   20,200         6 FL       Tampa
146 AmeriCorps State and National STATE        Commission Sub   Competitive     20ACHMO0010007    HEALING ACTION NETWORK, INC.                       Healing Action Network, INC.                                     116,358        14 MO       Saint Louis
147 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHCA0010014    NORTHERN SANTA BARBARA COUNTY UNITED Northern Santa Barbara County United Way                                       675,000        28 CA       Santa Maria
148 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHGA0010024    Sewa International, Inc.                           Sewa International AmeriCorps Atlanta                            247,442        26 GA       Cumming
149 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHKY0010011    YOUNG ADULT DEVELOPMENT IN ACTN INC YouthBuild Urban Conservation Corps                                             324,000        24 KY       Louisville
150 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBMD0010008    STATE OF MD                                        ASTAR Frostburg State University                                 389,201        58 MD       Frostburg
151 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCIN0010002    Public Allies Inc                                  Public Allies Indianapolis                                       539,206        24 WI       Milwaukee
152 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEWI0010015    BOYS & GIRLS CLUBS OF GREATER MILWAUKE ClubCorps (formerly EARN)                                                    565,608        99 WI       Milwaukee
153 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010032    BAY AREA COMMUNITY RESOURCES, INC.                 Sustainability Service Corps                                   1,071,529        45 CA       San Rafael
154 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBDC0010010    SchoolTalk, Inc                                    SchoolTalk Inc                                                    81,000         3 DC       Washington
155 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBNJ0010017    Sewa International, Inc.                           Environmental Stewardship Planning NJ                                -           0 NJ       Iselin
156 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010016    Wayne State University                             AmeriCorps Community Training for Overdose Rescue                269,237        38 MI       Detroit
157 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEIA0010028    Camp Fire Heart of Iowa                            Camp Fire Heart of Iowa AmeriCorps Planning Grant                100,000         0 IA       Des Moines
158 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGLA0010007    Louisiana Delta Service Corps                      Louisiana Delta Service Corps AmeriCorps                         701,795        38 LA       Baton Rouge
159 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010028    Impact America                                     Impact America - South Carolina AmeriCorps Team                  260,875        12 AL       Birmingham
160 AmeriCorps State and National EAS          Commission Sub   Competitive     21ESFME0010003    Greater Portland Council of Governments            AmeriCorps Resilience Corps II                                   300,000        12 ME       Portland
161 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010013    Regents of the University of California at Riversi The Regents of the University of California (UC Riversid             -         132 CA       Riverside
162 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010015    San Jose State University Research Foundation San Jose State University CaliforniansForAll College Fe                   -          72 CA       San Jose
163 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010022    Concordia University Irvine                        Concordia University Irvine College Corps Fellowship                 -         185 CA       Irvine
164 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSEMO004        HEALING ACTION NETWORK, INC.                       Healing Action VISTA Intermediary Project                         50,000         6 MO       Saint Louis
165 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACBNJ0010002    Rutgers The State University                       Rutgers Camden Public Health AmeriCorps                          214,627       100 NJ       Camden
166 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACBPA0010001    National Nurse-Led Care Consortium                 National Nursing Centers Consortium (NNCC)                       306,450        35 PA       Philadelphia
167 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACCKY0010002    Family Scholar House, Inc                          FSH Kentucky Public Health AmeriCorps                          2,648,571       230 KY       Louisville
168 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACDAZ0020004    West Valley Health Equity                          West Valley Health Equity                                        398,856        15 AZ       Phoenix
169 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACEWI0010005    MARSHFIELD CLINIC, INC.                            MCHS AmeriCorps Public Health Recovery Corps                     810,000        30 WI       Marshfield
170 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020001    George B. Thomas, Sr. Learning Academy, Inc. Project CHANGE                                                         404,985        16 MD       Silver Spring
171 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010017    COMMUNITIES IN SCHOOLS OF PHILADELPHIAAmeriCorps Digital Service Fellow Pre-Apprenticeship P                        472,407        24 PA       Philadelphia
172 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010019    Union-Snyder Community Action                      CORE Susquehanna AmeriCorps                                      485,760        34 PA       Selinsgrove
173 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010012    Caras of the Americas                              Caras of the Americas II                                          94,059        11 PR       San Juan
174 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010021    Centro Margarita, Inc.                             Centro Margarita, Inc.                                            87,474         5 PR       Cidra
175 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBWV0010010    West Virginia Food & Farm Coalition Inc            West Virginia Food and Farm Coalition                             49,505         0 WV       Charleston
176 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010007    Perkins School for the Blind                       Perkins AmeriCorps Program                                       324,000        12 MA       Watertown
177 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010009    MASSACHUSETTS SERVICE ALLIANCE, INC                Placeholder MA Cost Reimbursement                                432,000        55 MA       Boston
178 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010014    CITIZEN SCHOOLS INC                                Citizen Schools Planning Grant                                    83,379         0 MA       Boston
179 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010018    Breakthrough New York Inc                          Breakthrough New York                                            283,878        50 NY       New York
180 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFVT0010007    Vermont State University                           Vermont Rural Learning Collective                                437,867        35 VT       Randolph Center
181 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGMS0010004    The University of Southern Mississippi             TRIAD AmeriCorps                                                 152,494        22 MS       Hattiesburg
182 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESCMI0010001    CITY YEAR, INC.                                    City Year Detroit FPG                                          2,150,000        93 MA       Boston
183 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESDCO0010004    Colorado Alliance for Environmental Education eeCORPS                                                               389,080        17 CO       Denver
184 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESHTN0010001    The Chattanooga Hamilton County Public Educ Project Inspire Teacher Residency                                       400,000        16 TN       Chattanooga
185 AmeriCorps State and National EAS          Commission Sub   Formula         22FXFMA0020004    Teach Western Mass Inc.                            Teach Western Mass, Inc II                                        12,000        12 MA       Springfield
186 Days of Service               MLK          Direct                           22MKBMD001        Montgomery County, Maryland                        Montgomery County MLK                                            100,000           MD       Rockville
187 AmeriCorps State and National NATL         Direct           Competitive     22NDHSC002        NEIGHBOR TO NEIGHBOR OF SOUTH CAROLINNEIGHBOR TO NEIGHBOR OF SOUTH CAROLINA INC                                     279,312        14 SC       Myrtle Beach
188 Research                      RES          Direct                           22REAMS001        Mississippi State University                       Community colleges: Civic engagement engines                     398,795           MS       Mississippi State
189 AmeriCorps VISTA              VISTAS       Direct           Standard        22VSCIL009        Center for Disability & Elder Law                  Center for Disability & Elder Law                                    -           2 IL       Chicago
190 AmeriCorps State and National STATE        Commission Sub   Formula         23AFBDE0010003    Spur Impact Association                            Spur Impact Association                                           40,720         0 DE       Wilmington
191 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDWY0010007    University of Wyoming                              Extension and AmeriCorps                                         164,000        16 WY       Laramie
192 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010002    Girl Scouts of Western Washington                  Girl Scouts of Western Washington AmeriCorps Grant               403,895        22 WA       Seattle
193 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010012    SEA MAR COMMUNITY HEALTH CENTERS                   Sea Mar Community Health Centers                                 400,982        15 WA       Seattle
194 AmeriCorps Seniors            RSVP         Direct           Non-stipended   23SRBVI001        Department of Human Services                       Virgin Islands RSVP                                               52,500        50 VI       St Thomas




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195 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSCKY004        NORTHERN KENTUCKY UNIVERSITY RESEARCHNorthern Kentucky University Research Foundation Inc                    135,808        21 KY       Newport
196 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACCIL0010001    University of Chicago                          AmeriCorps Comprehensive Care, Community, & Cultu             449,262        18 IL       Chicago
197 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACCMI0010001    Michigan Coalition Against Homelessness        Michigan Coalition Against Homelessness AmeriCorps            595,599        23 MI       Lansing
198 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCIN0010006    BOYS & GIRLS CLUBS OF INDIANAPOLIS, INC. Indy After School Corps                                             249,939        10 IN       Indianapolis
199 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010009    Michigan College Access Network                MCAN AmeriCorps Planning Grant                                240,000         0 MI       Lansing
200 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDNM0010003    BOYS & GIRLS CLUB OF CENTRAL NEW MEXICOBoys & Girls Clubs of Central New Mexico II                           345,534        28 NM       Albuquerque
201 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDNM0010004    ECO-SERVANTS                                   EcoServants                                                   300,068        56 NM       Ruidoso
202 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEWI0010002    Marquette University                           414 Fellows AmeriCorps Program                                139,251        27 WI       Milwaukee
203 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEWI0010004    Reading & Math, Inc.                           Wisconsin Math Corps                                          334,714        30 MN       Minneapolis
204 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGAR0010003    Community Training Works, Inc.                 Ozark Conservation Corps (OCC) Planning Grant                  99,781         0 FL       Crawfordville
205 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHFL0010009    CareerSource Florida, Inc.                     CareerSource Florida, Inc. II                                  75,000         0 FL       Miccosukee
206 AmeriCorps State and National STATE        Commission Sub   Formula         24AFIOR0010002    United Community Action Network                UCAN AmeriCorps                                               404,998        18 OR       Roseburg
207 AmeriCorps State and National EAS          Commission Sub   Formula         24FXHNC0010001    THE SERVANT CENTER, INC.                       Partnership to End Homelessness (PtEH)                        239,760        16 NC       Greensboro
208 AmeriCorps State and National EAS          Commission Sub   Formula         24FXICA0010004    Kern County Superintendent of Schools          Kern Community Mentoring Fixed-Amount                         630,000        36 CA       Bakersfield
209 AmeriCorps State and National TRIBES       Direct           Competitive     24TNIWA001        Lummi Indian Business Council                  Lummi Nation AmeriCorps Project                               211,292         0 WA       Bellingham
210 AmeriCorps State and National TERR         Direct           Competitive     24TTESD001        Community Action for Veterans                  Community Action for Veterans                                  37,028         4 SD       Sioux Falls
211 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSCMI004        Michigan College Access Network                Michigan College Access Network                                34,499         7 MI       Lansing
212 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSHGA002        University of Georgia Research Foundation, Inc.UGA Service-Learning AmeriCorps VISTA Network                  40,000         6 GA       Athens
213 AmeriCorps VISTA              VISTAS       Direct           Standard        16VSPCA004        Sacramento Housing and Redevelopment Agen Sacramento Housing and Redevelopment Agency                            -           5 CA       Sacramento
214 AmeriCorps VISTA              VISTAS       Direct           Standard        18VSNMI009        FOCUS HOPE                                     Focus: HOPE Education and Empowerment Program                     -          17 MI       Detroit
215 AmeriCorps VISTA              VISTAS       Direct           Support Grant   18VSNMI011        Bethany Christian Services                     Strengthening Americas Children and Families                   49,000        10 MI       Grand Rapids
216 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSNND003        Souris Basin Planning Council                  Souris Basin Community Builder Program                         55,000         9 ND       Minot
217 AmeriCorps State and National EAS          Commission Sub   Competitive     20ESHCA0010002    CITY YEAR, INC.                                City Year Sacramento II                                     1,237,500        50 MA       Boston
218 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSAPR005        TPMG CORP                                      Techos pa'mi gente                                             20,000        11 PR       San Juan
219 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBPA0010005    JOYFUL READERS, INC.                           Joyful Readers, Inc.                                          833,490        50 PA       Philadelphia
220 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEWI0010012    WESTERN DAIRYLAND ECONOMIC OPPORTUNChippewa Fresh Start                                                      168,874        15 WI       Independence
221 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBNJ0010027    Montclair State University                     Healthy Communities Corps                                     244,902        50 NJ       Montclair
222 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCIN0010011    The Archaeological Research Institute          Archaeological Research Institute                             230,370        15 IN       Lawrenceburg
223 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDCO0010028    City of Loveland                               City of Loveland Public Library                               247,484        22 CO       Loveland
224 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDCO0010038    Weld County Government                         Weld County Youth Conservation Corps (WCYCC)                   82,260         0 CO       Greeley
225 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEWI0010025    Marquette University                           Marquette University AmeriCorps Planning Grant II              74,998         0 WI       Milwaukee
226 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHNC0010009    CHILDREN FIRST COMMUNITIES IN SCHOOLS Project POWER                                                          309,223        22 NC       Asheville
227 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010032    Arras Foundation                               Arras Foundation - Planning Grant                             147,993         0 SC       Lancaster
228 AmeriCorps State and National EAP          Direct           Competitive     21EDIWA001        Western Washington University                  Washington Campus Coalition for the Public Good CLE         2,673,290       347 WA       Bellingham
229 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010002    UNIVERSITY OF CALIFORNIA IRVINE                College Corps at UCI                                              -         100 CA       Irvine
230 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010027    San Francisco State University                 San Francisco State University- College Corps                     -          57 CA       San Francisco
231 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACCKY0010001    Kentucky Health Departments Association, Inc. Kentucky Public Health AmeriCorps                            1,282,500        75 KY       Frankfort
232 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACCOH0010001    OHIO STATE UNIVERSITY, THE                     The Ohio State University - Ofc of Sponsored Programs         809,844        50 OH       Columbus
233 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACDCO0010001    Metro Volunteers                               SPARK HEALTH Corps                                            205,504        20 CO       Denver
234 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020015    PARTNERS IN CARE MARYLAND INC                  Partners In Care Maryland, Inc. - AmeriCorps Program              -           0 MD       Pasadena
235 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFCT0010006    Public Allies Inc                              Public Allies CT                                              693,741        30 WI       Milwaukee
236 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHTN0010007    Hands On Nashville, Inc.                       Hands On Nashville II                                             -           0 TN       Nashville
237 AmeriCorps State and National EAS          Commission Sub   Formula         22FXIWA0010002    VETERANS AFFAIRS WASHINGTON STATE DEPAVet Corps Washington                                                   215,000         8 WA       Olympia
238 Days of Service               MLK          Direct                           22MKIWA001        New Stories                                    MLK Day of Service                                            200,000           WA       Spokane
239 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACEMO0010007    Poplar Bluff R I School District               Poplar Bluff R-I School District                              337,750        36 MO       Poplar Bluff
240 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACHFL0010002    Collier Health Services Inc                    Collier Public Health Corps                                   261,421        10 FL       Immokalee
241 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010004    GIRL SCOUTS OF GREATER CHICAGO AND NO Girl Scouts of Greater Chicago and Northwest Indiana I                  94,326         5 IL       Chicago
242 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010026    Campus Compact                                 College Renaissance Corps Illinois Planning Grant             125,000         0 MA       Boston
243 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010011    HEALTH SERVICES KENTUCKY CABINET FOR BHDID-SUDS                                                               60,000         0 KY       Frankfort
244 AmeriCorps State and National STATE        Commission Sub   Formula         23AFEMN0010003    Improve Your Tomorrow                          Improve Your Tomorrow                                         540,000        29 CA       Sacramento
245 AmeriCorps State and National STATE        Commission Sub   Formula         23AFEMO0010009    Gateway to Hope                                Gateway to Hope                                               124,986         5 MO       Saint Louis
246 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHTN0010003    United Way of West Tennessee, Inc              United Way of West Tennessee - AmeriCorps Planning G           66,197         0 TN       Jackson
247 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010001    Porterville Unified School District            Building Community, Changing Lives                          1,606,500        85 CA       Porterville
248 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010008    Regents of the University of California, The   GrizzlyCorps - Rural Climate Solutions                      1,215,000        45 CA       Berkeley
249 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010010    Envisioneers Inc                               Envisioneers Inc ELT                                          594,000        22 CA       Redwood City
250 AmeriCorps State and National EAS          Commission Sub   Formula         23FXBDE0010001    Reading ASSIST Institute                       Reading Assist - Project Accelerate                           305,370        25 DE       Wilmington
251 AmeriCorps State and National EAS          Commission Sub   Formula         23FXBDE0010008    We Prosper Family Organization Inc.            We Prosper                                                    132,300        12 NY       Yonkers
252 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFRI0010001    TEACH FOR AMERICA INC                          TFA- Rhode Island                                              50,000        50 NY       New York
253 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFRI0010003    WOONSOCKET NEIGHBORHOOD DEVELOPMEWOONSOCKET NEIGHBORHOOD DEVELOPMENT CO                                       52,000         2 RI       Woonsocket
254 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFRI0010004    Children's Friend and Service                  Children's Friend and Service                                 100,880        10 RI       Providence
255 AmeriCorps Seniors            RSVP         Direct           Non-stipended   23SRHGA002        Atlanta Regional Commission                    Metro Atlanta RSVP                                            187,904       188 GA       Atlanta
256 Volunteer Generation Fund     VGF          Direct                           23VGEIA001        Volunteer Service, Iowa Commission On          Iowa VGF ARP                                                  229,324           IA       Des Moines
257 Volunteer Generation Fund     VGF          Direct                           23VGEKS001        Kansas State Department of Education           A More Civically Engaged Kansas                               320,000           KS       Topeka
258 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACEMN0010002    Minnesota Pollution Control Agency             Minnesota GreenCorps                                          998,859        59 MN       Saint Paul
259 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACEWI0010002    County of Dane                                 Partners for After School Success                             303,621        21 WI       Madison




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260 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACEWI0010004    UNIVERSITY OF WISCONSIN SYSTEM                   ECLIPSE                                                        90,861        36 WI       Eau Claire
261 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACICA0010004    Prevent Child Abuse - California                 Pre-K & Beyond Learning Corps (PBLC)                          517,500        32 CA       North Highlands
262 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010014    NEW JERSEY DEPARTMENT OF ENVIRONMENTANJ Watershed Ambassadors Program                                          475,735        23 NJ       Trenton
263 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCOH0010003    Ohio Association of Foodbanks                    OH Association of Foodbanks Planning Grant                     70,885         0 OH       Columbus
264 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCOH0010004    Xavier University                                Xavier University- Planning Grant                              74,853         0 OH       Cincinnati
265 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010005    EXECUTIVE OFFICE OF STATE OF ARIZONA             Placeholder AZ Cost Reimbursement                             973,973         0 AZ       Phoenix
266 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEKS0010001    Immunize Kansas Coalition, Inc.                  Immunize Kansas Coalition                                      81,000         3 KS       Topeka
267 AmeriCorps State and National STATE        Commission Sub   Formula         24AFFRI0010004    Girl Scouts of Southeastern New England          Girl Scouts of Southeastern New England Planning Gra           53,242         4 RI       Warwick
268 AmeriCorps State and National EAS          Commission Sub   Formula         24FXBVA0010001    TEACH FOR AMERICA INC                            Teach For America- Virginia                                    40,000        40 NY       New York
269 AmeriCorps State and National EAS          Commission Sub   Formula         24FXGTX0010004    AUSTIN ACHIEVE PUBLIC SCHOOLS                    AUSTIN ACHIEVE PUBLIC SCHOOLS II                              550,000        22 TX       Austin
270 AmeriCorps VISTA              VISTAS       Direct           Standard        19VSNIL003        Public Health Institute of Metropolitan Chicago Illinois Safe Schools Consortia                                    -           5 IL       Chicago
271 AmeriCorps State and National EAS          Commission Sub   Competitive     20ESHCA0010005    Napa County Office of Education                  AmeriCorps VIP                                              1,800,000        72 CA       Napa
272 AmeriCorps State and National EAS          Commission Sub   Formula         20FXHSC0010001    UNITED WAY OF GREENVILLE COUNTY, INC AmeriCorps Upstate 2022-25                                                243,000         9 SC       Greenville
273 AmeriCorps VISTA              VISTAS       Direct           Standard        20VSACT003        Connecticut Coalition Against Domestic Violen Connecticut Coalition Against Domestic Violence                      -           3 CT       Glastonbury
274 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSSMS007        Mississippi Alliance of Nonprofits and Philanthr MS Poverty Reduction Through Needs Assessment/Ass              39,600         9 MS       Jackson
275 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSSSC001        UNITED WAY OF THE PIEDMONT, INC.                 VISTAs in the Piedmont                                         32,100        20 SC       Spartanburg
276 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEWI0010011    United Way of Dane County, Inc.                  Achievement Connections                                       216,773        14 WI       Madison
277 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010017    San Diego County Office of Education             San Diego County Superintendent of Schools                    899,967        36 CA       San Diego
278 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCIN0010004    Michiana Area Council of Governments             Michiana Area Council of Governments (MACOG)                  462,909        27 IN       South Bend
279 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCOH0010018    OHIO COMMISSION ON SERVICE AND VOLUNTPlaceholder OH Cost Reimbursement                                       1,207,367         0 OH       Columbus
280 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCOH0010023    HealthCorps, Inc.                                Teens Make Health Happen                                      115,544        15 NY       New York
281 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHNC0010019    CONSERVATION TRUST FOR NORTH CAROLINAResilience Corps NC                                                       750,807        28 NC       Raleigh
282 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010023    United Way of Anderson County                    United for Health                                             211,866        26 SC       Anderson
283 AmeriCorps State and National STATE        Commission Sub   Formula         21AFIAK0010004    Alaska Childrens Trust                           Alaska Afterschool Network AmeriCorps                         277,092        63 AK       Anchorage
284 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010007    Regents of the University of California, The     College Corps at UC Berkeley                                      -          97 CA       Berkeley
285 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010008    California State University, Fresno Foundation Central Valley College Corps1                                       -          60 CA       Fresno
286 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010017    California State University Chico                California State University of Chico II                           -          46 CA       Chico
287 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010020    University of California, San Diego              UC San Diego College Corps                                        -         130 CA       La Jolla
288 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010026    California State University, Stanislaus          CaliforniansForAll College Corps, Stanislaus State                -          90 CA       Turlock
289 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSENE001        NEBRASKA DEPARTMENT OF HEALTH & HUMANServeNebraska IV                                                           60,000        12 NE       Lincoln
290 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACCIL0010002    Gardeneers                                       Healthy Kids, Healthy Families, Healthy Communities           673,344        25 IL       Chicago
291 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACEWI0010004    United Way Fox Cities Inc                        UNITED WAY FOX CITIES, INC.                                   257,288        14 WI       Menasha
292 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010004    Boys & Girls Clubs of Western Pennsylvania       BGCWPA AmeriCorps LEAD Program                                187,496        28 PA       Pittsburgh
293 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010016    Casa Juan Bosco Inc                              Casa Juan Bosco Tiempo libre; tiempo para crecer               14,152         0 PR       Aguadilla
294 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFCT0010009    CATALYST CT INC                                  Fairfield Public School AmeriCorps Program                     74,759         0 CT       Bridgeport
295 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010001    Social Capital Inc.                              SCI AmeriCorps Program                                        600,000        23 MA       Woburn
296 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010005    Grand Street Settlement, Inc                     Grand Street Settlement AmeriCorps                            476,570        38 NY       New York
297 AmeriCorps State and National EAS          Commission Sub   Formula         22FXEND0010001    South East Education Cooperative                 North Dakota Professional Corps                                24,934        40 ND       Fargo
298 AmeriCorps State and National NATL         Direct           Competitive     22NDESD001        Red Cloud Indian School, Inc.                    Mahpiya Luta Education Corps                                  395,621        42 SD       Pine Ridge
299 AmeriCorps State and National NATL         Direct           Competitive     22NDICA003        Reach Out West End                               Reach Out CHW Outreach Program                                283,500        15 CA       Upland
300 Research                      RES          Direct                           22REAME001        University of Maine System                       Virtual Volunteerism Among Older Adults                     1,332,661           ME       Orono
301 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSBPA001        United Way of the Greater Lehigh Valley          United Way of the Greater Lehigh Valley II                     35,000        38 PA       Allentown
302 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSIOR001        Oregon Health Authority                          Oregon Health Authority Public Health                         100,000        13 OR       Salem
303 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010012    Youth & Opportunity United, Inc.                 Y.O.U.th Serve Evanston and Skokie                            243,000         9 IL       Evanston
304 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010021    Lessie Bates Davis Neighborhood House, Inc. Lessie Bates Davis Neighborhood House, Inc.                      1,536,122       125 IL       E Saint Louis
305 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHAL0010008    City of Selma                                    Selma AmeriCorps Neighborhood Development Initiativ           416,694        28 AL       Selma
306 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010013    Reading Partners                                 Reading Partners California                                 2,000,000        80 CA       Oakland
307 AmeriCorps State and National EAS          Commission Sub   Formula         23FXCMI0010002    TEACH FOR AMERICA INC                            Teach For America- Detroit                                     80,000        80 NY       New York
308 AmeriCorps State and National EAS          Commission Sub   Formula         23FXHSC0010003    UNITED WAY OF THE PIEDMONT, INC.                 United Way of Piedmont Inc                                    236,520        21 SC       Spartanburg
309 AmeriCorps State and National EAS          Commission Sub   Formula         23FXIOR0010001    Forest Grove School District                     Partnerships for Student Achievement                          432,000        16 OR       Forest Grove
310 AmeriCorps Seniors            SCP          Direct           Stipended       23SCEIA002        VISITING NURSE SERVICES OF IOWA                  Visiting Nurse Services 20SC224428                            290,426        32 IA       Des Moines
311 Volunteer Generation Fund     VGF          Direct                           23VGICA006        Rainbow Labs Mentoring Inc                       Rainbow Labs Mentoring Inc                                    166,265           CA       West Hollywood
312 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSCOH003        MIAMI UNIVERSITY                                 Miami University VISTA Program                                 70,948         9 OH       Oxford
313 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACCOH0010002    CITY YEAR, INC.                                  City Year Columbus                                          1,075,000        43 MA       Boston
314 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACICA0010002    Napa County Office of Education                  CalSERVES Expanded Learning (EXL)                             713,000        31 CA       Napa
315 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010010    Zufall Health Center                             Zufall Health AmeriCorps                                      189,977        10 NJ       Dover
316 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010001    Pima Prevention Partnership                      The Partnership AmeriCorps Project                            134,710        26 AZ       Tucson
317 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010003    Family Scholar House, Inc                        AZ HealthCorps                                                497,948        45 KY       Louisville
318 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEIA0010001    Polk County Conservation BR                      Polk County Conservation AmeriCorps Formula Grant             272,678        22 IA       Granger
319 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHFL0010004    BOYS AND GIRLS CLUBS OF PALM BEACH COUGreat Futures AmeriCorps Program (GFAP)                                  302,634        28 FL       West Palm Beach
320 AmeriCorps State and National EAS          Commission Sub   Formula         24FXICA0010006    Riverside Community College District             Moreno Valley College College Corps                               -          22 CA       Moreno Valley
321 AmeriCorps Seniors            FGP          Direct           Stipended       24SFBVA001        Virginia Commonwealth University                 Indigenous Generations Nurturing Identity Through Edu         180,000        20 VA       Richmond
322 AmeriCorps Seniors            RSVP         Direct           Non-stipended   24SRFNY001        Erie, County of                                  RSVP of Erie County                                            83,891       450 NY       Buffalo
323 AmeriCorps VISTA              VISTAS       Direct           Standard        24VSGAR001        The Ministry Center                              Conway Ministry Center Capcity Building Growth                    -           4 AR       Conway
324 AmeriCorps VISTA              VISTAS       Direct           Support Grant   16VSNSD001        Thunder Valley Community Development CorpoThunder Valley CDC                                                    50,000        15 SD       Porcupine




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325 AmeriCorps VISTA              VISTAS       Direct           Support Grant   17VSWAZ005        Arizona Food Bank Network                         Arizona Food Bank Network                                        27,121        8 AZ       Phoenix
326 AmeriCorps VISTA              VISTAS       Direct           Support Grant   18VSAMA008        Helping Our Women Inc                             Helping Our Women, Inc.                                          30,000        6 MA       Provincetown
327 AmeriCorps VISTA              VISTAS       Direct           Support Grant   18VSNIL003        Illinois Association of Free and Charitable ClinicIllinois Association of Free and Charitable Clinics              50,000       16 IL       La Grange
328 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSNOH001        Ohio State University, The                        The Ohio Opportunity Youth Initiative                            50,000       26 OH       Columbus
329 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSWNM001        City of Albuquerque                               One ABQ Volunteers VISTA                                         50,000        5 NM       Albuquerque
330 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHTN0010012    CLINCH-POWELL RESOURCE CONSERVATION Appalachia CARES / AmeriCorps                                                 837,502       82 TN       Rutledge
331 AmeriCorps State and National EAS          Commission Sub   Competitive     20ESHCA0010004    Impact Justice                                    California Justice Leaders - Fixed Amount                       827,500       63 CA       Oakland
332 AmeriCorps VISTA              VISTAS       Direct           Standard        20VSACT004        Achievement First, Inc.                           AFAAHS Combined VISTA Project                                       -         10 CT       New Haven
333 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEIA0010006    Iowa Legal Aid                                    Iowa Legal Aid AmeriCorps Project                               244,071       16 IA       Des Moines
334 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACFVT0010003    ReSOURCE: A Nonprofit Community Enterprise ReSOURCE Every Body Works                                              254,421       18 VT       Williston
335 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010029    Michigan State University                         MSU 4-H HealthCorps AmeriCorps                                  323,999       12 MI       East Lansing
336 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCOH0010008    Shawnee State University                          Project BEAR: Building Emerging and Achieving Readers           756,263       66 OH       Portsmouth
337 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCOH0010022    University Settlement Inc                         NEO Skill Corps                                                 177,994        9 OH       Cleveland
338 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDCO0010031    Campus Compact                                    Campus Compact Colorado College Renaissance Corp                262,053       15 MA       Boston
339 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDID0010008    Palouse-Clearwater Environmental Institute        Palouse-Clearwater Environmental AmeriCorps Progra              375,000       17 ID       Moscow
340 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010006    THE EDUCATOR ACADEMY, INC                         Educator Academy KS                                             107,999        4 MO       Kansas City
341 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010010    Kansas State Department of Education              Placeholder KS Cost Reimbursement                               519,409        0 KS       Topeka
342 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010014    BALLARD COMMUNITY SERVICES                        Elizabeth B. Ballard Community Center, Inc.                     107,999        4 KS       Lawrence
343 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010018    Wichita State University                          Wichita State University-Planning Grant                         100,000        0 KS       Wichita
344 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEWI0010016    Milwaukee Bar Association Foundation, Inc.        Milwaukee Justice Center                                        283,470       34 WI       Milwaukee
345 AmeriCorps State and National STATE        Commission Sub   Formula         21AFIAK0010008    ArtistYear                                        ArtistYear Alaska Planning Grant                                 81,139        0 PA       Philadelphia
346 AmeriCorps State and National STATE        Commission Sub   Formula         21AFIOR0010010    Confluence Environmental Center                   Confluence Environmental Center                                 442,800       18 OR       Portland
347 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010005    University Corporation at Monterey Bay            CSUMB College Corps 1                                               -         48 CA       Seaside
348 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010023    Compton College                                   Compton College                                                     -         23 CA       Compton
349 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010028    California State University, East Bay FoundationCalifornia State University East Bay CCE                              -         37 CA       Hayward
350 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACBNJ0010003    Montclair State University                        Montclair State University Healthy Communities Corps            731,407       74 NJ       Montclair
351 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACDAZ0020003    NORTHERN ARIZONA UNIVERSITY                       Northern Arizona University                                     663,071       93 AZ       Flagstaff
352 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010008    Carroll County Schools                            Lift Up AmeriCorps Tutoring Program                             843,632       92 VA       Hillsville
353 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010026    LeadingAge Virginia                               LeadingAge Virginia                                             120,102        0 VA       Glen Allen
354 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010027    United Way of the National Capital Area           United Way NCA VITA Program Planning Grant                      100,015        0 VA       Vienna
355 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010029    College of William and Mary                       Supporting Flourishing in Pre-K and Middle School stud          128,872       34 VA       Williamsburg
356 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBWV0010001    Tygart Valley United Way, Inc                     FlipSide AmeriCorps                                             231,665       22 WV       Fairmont
357 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFCT0010003    CATALYST CT INC                                   Prevention Corps                                                414,845       34 CT       Bridgeport
358 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFME0010011    Food For All Services                             Legacy Builders Corp: Empowering Maine¿s Black Non               41,989        0 ME       Portland
359 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010023    CITY OF NEW YORK                                  NYC Peer Corps                                                  628,320       34 NY       Long Island City
360 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGMS0010009    CITY OF LAUREL                                    Laurel Plays                                                    238,000       21 MS       Laurel
361 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010019    CLC, Inc                                          CLC, Inc. - AmeriCorps Operating Grant II                       275,891       27 TX       Fort Worth
362 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010036    Midwestern State University                       Midwestern State University AmeriCorps                           99,996        0 TX       Wichita Falls
363 AmeriCorps State and National STATE        Commission Sub   Formula         22AFINV0010011    City Of Las Vegas                                 City of Las Vegas AmeriCorps Program                            872,180       64 NV       Las Vegas
364 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESIWA0010003    United Way of King County                         United Way of King County (UWKC)                              1,428,840       60 WA       Seattle
365 AmeriCorps State and National EAS          Commission Sub   Formula         22FXCKY0010002    Conservation Legacy                               Southeast Conservation Corps Kentucky                           100,000        8 CO       Durango
366 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHFL0010002    University of North Florida                       University of North Florida Jacksonville Teacher Reside         700,110       51 FL       Jacksonville
367 AmeriCorps State and National NATL         Direct           Competitive     22NDICA002        County of Los Angeles                             Reducing COVID-19 Disparities in Los Angeles County           1,296,000       80 CA       Commerce
368 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACHTN0010001    TENNESSEE'S COMMUNITY ASSISTANCE CORPCommunity Cares                                                              808,229       46 TN       Morristown
369 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010012    Kentucky Environmental Education Council          Environmental Education Leadership Corps                        357,250       20 KY       Frankfort
370 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010014    I Would Rather Be Reading                         I Would Rather Be Reading AmeriCorps Program                    139,965        8 KY       Louisville
371 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDWY0010001    Teton Science Schools, Inc.                       Building Capacity for Out-of-School STEAM Learning              305,996       40 WY       Jackson
372 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDWY0010002    SAE International                                 SAE AmeriCorps Wyoming STEM Program                             123,000        7 PA       Warrendale
373 AmeriCorps State and National STATE        Commission Sub   Formula         23AFEMO0010010    EMMANUEL FAMILY & CHILD DEVELOPMENT EMMANUEL FAMILY & CHILD DEVELOPMENT                                           178,098       28 MO       Kansas City
374 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010007    ATLANTA POLICE FOUNDATION                         APF AmeriCorps Planning Grant                                    73,625        0 GA       Atlanta
375 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010008    Frank Callen Boys & Girls Club, Inc.              AmeriCorps Building Literacy Through Tutoring                   119,312       10 GA       Savannah
376 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010010    THE SCHOLARSHIP ACADEMY INC                       The Scholarship Academy, Inc.                                   289,023       15 GA       Atlanta
377 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHTN0010004    East Tennessee State University                   East Tennessee State University - AmeriCorps Planning            74,542        0 TN       Johnson City
378 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010007    BAY AREA COMMUNITY RESOURCES, INC.                California Emergency Response Corps                           1,889,979       70 CA       San Rafael
379 Volunteer Generation Fund     VGF          Direct                           23VGBMD001        Elev8 Baltimore, Inc.                             Elev8 Baltimore, Volunteer Generation Grant                     225,111          MD       Baltimore
380 Volunteer Generation Fund     VGF          Direct                           23VGCIL001        HandsOn Suburban Chicago                          HandsOn Suburban Chicago II                                     375,365          IL       Arlington Heights
381 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSBMD003        MARYLAND DEPARTMENT OF SERVICE AND CIVEXECUTIVE OFFICE OF THE STATE OF MARYLAND                                    50,000       10 MD       Annapolis
382 AmeriCorps VISTA              VISTAS       Direct           Standard        23VSEKS001        Environmental Protection Agency                   EPA Region 7 Green VISTA Corps Program                              -          5 OH       Cincinnati
383 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACCOH0010001    CITY YEAR, INC.                                   City Year Cleveland                                           1,263,644       55 MA       Boston
384 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACEWI0010001    College Possible                                  College Possible Wisconsin                                    1,013,889       44 MN       Saint Paul
385 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBDC0010001    Serve DC                                          Placehold DC Cost Reimbursement                                  17,286        0 DC       Washington
386 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010007    YouthPower365                                     Peak Pathfinders                                                239,203       10 CO       Avon
387 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010012    Sims-Fayola Foundation                            Sims-Fayola Foundation                                          110,349        0 CO       Aurora
388 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHFL0010010    FLORIDA COMMISSION ON COMMUNITY SERV Placeholder FL Cost Reimbursement                                          3,350,962        0 FL       Tallahassee
389 AmeriCorps State and National EAS          Commission Sub   Formula         24FXGTX0010002    THE ONESTAR NATIONAL SERVICE COMMISSIOPlaceholder TX Fixed                                                      4,200,890        0 TX       Austin




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390 AmeriCorps State and National EAS          Commission Sub   Formula         24FXICA0010005    University of California, Davis                 Sacramento State College Corps                                      -           0 CA       Davis
391 AmeriCorps State and National EAS          Commission Sub   Formula         24FXICA0010007    University Enterprises, Inc.                    Sacramento State College Corps - SSCC                               -         150 CA       Sacramento
392 AmeriCorps Seniors            SCP          Direct           Stipended       24SCHNC001        Land-0f-Sky Regional Council                    Land-of-Sky Regional Council Senior Companion Progr             405,000        45 NC       Asheville
393 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSDCO001        Entrepreneurship for All, Inc.                  Inclusive Entrepreneurship: EforAll Community Empow              20,000         3 MA       Lowell
394 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBPA0010008    PHILADELPHIA, CITY OF                           PowerCorpsPHL                                                   861,408       118 PA       Philadelphia
395 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCMI0010017    Michigan College Access Network                 College Completion Corps AmeriCorps Program                     545,193        26 MI       Lansing
396 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEIA0010008    Bur Oak Land Trust                              Bur Oak Land Trust AmeriCorps                                   238,139        13 IA       Iowa City
397 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEWI0010008    United Way of Dane County, Inc.                 Schools of Hope AmeriCorps Project                              320,005        16 WI       Madison
398 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACFMA0010017    Central Berkshire Habitat for Humanity, Inc     Central Berkshire Habitat for Humanity                          188,336        11 MA       Pittsfield
399 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACHFL0010012    READ USA, Inc.                                  READ USA, Inc.                                                  476,000       100 FL       Jacksonville
400 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010014    Giants Community Fund                           Giants Community Fund                                           603,692       116 CA       San Francisco
401 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010024    Our City Forest                                 Our City Forest Program AmeriCorps                              649,980        26 CA       San Jose
402 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDID0010003    Regents of the University of Idaho              Idaho Positive Youth Development AmeriCorps                     476,984        49 ID       Moscow
403 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010016    Emporia State University                        Emporia State University                                        131,413        22 KS       Emporia
404 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEND0010003    Souris Basin Planning Council                   Souris Basin Planning Council II                                208,782        24 ND       Minot
405 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGAR0010004    University of Central Arkansas                  University of Central Arkansas BearsServe Leaders               221,400        31 AR       Conway
406 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGLA0010008    FOR PROVIDERS BY PROVIDERS LOUISIANA Early Childhood Teacher Corps                                              195,498        24 LA       New Orleans
407 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGLA0010009    Louisiana Department of Veterans Affairs        LaVetCorps                                                      391,856        34 LA       Baton Rouge
408 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGOK0010004    Lilyfield, Inc                                  Lilyfield's EmpowerOKC Check and Connect                        252,990        33 OK       Edmond
409 AmeriCorps State and National STATE        Commission Sub   Formula         21AFIOR0010003    Metropolitan Family Service, Inc.               Metropolitan Family Service AmeriCorps                          499,500        20 OR       Gresham
410 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010009    University of Pacific                           Pacific College Corps                                               -         100 CA       Stockton
411 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010012    California State University, Dominguez Hills FouCSU Dominguez Hills                                                 -          80 CA       Carson
412 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010016    University of California, Merced                College Corps at UC Merced                                          -         105 CA       Merced
413 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSBPA001        CITY OF LANCASTER MUNICIPAL BUILDING            City of Lancaster, PA                                            30,000        12 PA       Lancaster
414 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACHNC0020002    Pamlico Rose Institute for Sustainable CommunWellness Corps                                                     377,872        20 NC       Washington
415 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBWV0010006    City of Weston                                  City of Weston AmeriCorps                                       233,245        19 WV       Weston
416 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010008    Walker Inc                                      Walker, Inc.                                                    286,632        35 MA       Needham
417 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGMS0010007    Mississippi Delta Nature and Learning Center Mississippi Delta Nature and Learning Center AmeriCo               238,999        29 MS       Greenville
418 AmeriCorps State and National STATE        Commission Sub   Formula         22AFINV0010015    United Way of Southern Nevada Inc               UWSN AmeriCorps Planning Grant                                  150,000         0 NV       Las Vegas
419 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESIWA0010002    STATE OF WASHINGTON                             Washington Conservation Corps                                 3,327,012       273 WA       Lacey
420 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHFL0010013    Polk Education Foundation And Business PartnePolk Education Foundation And Business Partnership,                621,000        38 FL       Bartow
421 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHTN0010001    TEACH FOR AMERICA INC                           Teach for America - Memphis                                      85,000        85 NY       New York
422 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSGLA003        ADMINISTRATORS OF THE TULANE EDUCATIONADMINISTRATORS OF THE TULANE EDUCATIONAL FUN                               60,000        21 LA       New Orleans
423 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACBNJ0010001    Rutgers, The State University                   Rutgers, the State University Newark - Parent Mentor Ac         151,147        20 NJ       Newark
424 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDUT0010005    State of Utah Cultural and Community EngagemThriving Utah                                                       375,000        28 UT       Millcreek
425 AmeriCorps State and National STATE        Commission Sub   Formula         23AFEMO0010011    Missouri State University                       Missouri State University AmeriCorps Program                    294,616        29 MO       Springfield
426 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010003    United Way of Monterey County                   Monterey County Preschool Service Corps                         540,000        24 CA       Salinas
427 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIGU0010004    GOVERNMENT OF GUAM- DEPARTMENT OF ADPlaceholder Guam Cost Reimbursement                                       1,134,867         0 GU       Tamuning
428 AmeriCorps State and National EAS          Commission Sub   Competitive     23ESFNY0010001    Relay Graduate School of Education              AmeriCorps Relay Teaching Program New York (ARTPNY                  -         150 NY       New York
429 AmeriCorps State and National EAS          Commission Sub   Competitive     23ESIHI0010001    Legal Aid Society of Hawaii                     Legal Aid Society of Hawaii                                     239,200        10 HI       Honolulu
430 AmeriCorps State and National EAS          Commission Sub   Formula         23FXBDE0010004    Children's Beach House, Inc.                    Children's Beach House, Inc. III                                283,500        15 DE       Wilmington
431 AmeriCorps State and National EAS          Commission Sub   Formula         23FXCMI0010001    CITY YEAR, INC.                                 City Year Detroit Formula FPG                                   800,000        32 MA       Boston
432 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFNY0010003    THE RESEARCH FOUNDATION FOR THE STATE Americorp Fixed Amount Grant (State)                                    2,571,430       450 NY       Albany
433 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFRI0010002    Farm Fresh Rhode Island                         Farm Fresh Rhode Island II                                      130,000         5 RI       Providence
434 AmeriCorps State and National EAS          Commission Sub   Formula         23FXHSC0010007    United Way Association Of South Carolina, Inc Placeholder - SC Fixed Amount                                     324,000        12 SC       Columbia
435 AmeriCorps State and National NATL         Direct           Competitive     23NDCOH002        WASHINGTON COUNTY COMMISSIONERS                 Peer Support for Chronic Illness Mid-Ohio Valley Appal          722,715        41 OH       Marietta
436 AmeriCorps State and National NATL         Direct           Competitive     23NDDNM002        THE TIDES CENTER                                TIDES CENTER                                                    472,067        27 CA       San Francisco
437 AmeriCorps Seniors            RSVP         Direct           Non-stipended   23SREMN004        Regents of the University of Minnesota          RSVP of the Red River Valley                                     74,702       680 MN       Minneapolis
438 Volunteer Generation Fund     VGF          Direct                           23VGDCO001        Governor's Commission on Community Service VGF --Colorado                                                       402,585           CO       Denver
439 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACEMN0010001    Ecolibrium3                                     Ecolibrium3                                                     437,495        25 MN       Duluth
440 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010007    Crim Fitness Foundation                         Crim Sports Corps                                               249,393        15 MI       Flint
441 AmeriCorps State and National STATE        Commission Sub   Formula         24AFFRI0010005    The Equity Institute                            The Equity Institute                                             37,187         0 RI       Providence
442 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHFL0010007    Habitat for Humanity of Florida Inc             Habitat for Humanity of Florida Disaster Resilience Pro          74,982         0 FL       Clearwater
443 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHFL0010008    Family Scholar House, Inc                       HealthCorps FL                                                   74,808         0 KY       Louisville
444 AmeriCorps State and National TRIBES       Direct           Competitive     24TNIAK001        Native Village of Selawik                       Native Village of Selawik                                       127,078         0 AK       Selawik
445 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSBWV001        UNITED WAY OF CENTRAL WEST VIRGINIA, INCUNITED WAY OF CENTRAL WEST VIRGINIA, INC.                                55,000        15 WV       Charleston
446 AmeriCorps VISTA              VISTAS       Direct           Support Grant   18VSNMN002        The Sanneh Foundation                           The Sanneh Foundation                                            45,000        16 MN       Saint Paul
447 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSNMI005        Michigan State University                       MSU VISTA State Opioid Project                                   50,000        17 MI       East Lansing
448 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSSGA004        THE CENTER FOR BLACK WOMEN'S WELLNESSWellness Capacity Builders                                                  40,000         3 GA       Atlanta
449 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHTN0010010    The Appalachian Regional Coalition on HomelesHousing First Service Corps                                        475,000        23 TN       Johnson City
450 AmeriCorps State and National EAS          Commission Sub   Competitive     20ESHNY0010005    THE STUDENT CONSERVATION ASSOCIATION, SCA NY AmeriCorps - For Formula Submission                              1,274,400        71 VA       Arlington
451 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSBMD001        The Johns Hopkins University                    Johns Hopkins University Cities of Service                       10,000        17 MD       Baltimore
452 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSDCO002        Shiloh Home Inc                                 YMCO Partnership for Youth                                       37,000        10 CO       Littleton
453 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSNIL007        Gateway to the Great Outdoors                   Gateway to the Great Outdoors II                                 60,000        10 IL       Chicago
454 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBWV0010006    Grow Ohio Valley, Inc                           Grow Ohio Valley                                                197,394        13 WV       Wheeling




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455 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACFMA0010009    United Way of Massachusetts Bay, Inc.          United Way AmeriCorps Program                                   337,727        16 MA       Boston
456 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACFRI0010002    WOONSOCKET NEIGHBORHOOD DEVELOPMEACCESSING HOME                                                                292,902        12 RI       Woonsocket
457 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010030    community Partners                             Changeist                                                       714,419        30 CA       Los Angeles
458 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010031    Improve Your Tomorrow                          IYT College Academy Planning Grant                            2,619,124       167 CA       Sacramento
459 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010038    IFOSTER N CCDA ATTAINMENT IRU                  iFoster                                                       1,100,555        90 CA       Truckee
460 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBNJ0010018    Isles, Inc.                                    Isles, Inc.                                                     246,776        14 NJ       Trenton
461 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010011    Luella Hannan Memorial Foundation              Hannan Foundation AmeriCorps Program                            268,964        20 MI       Detroit
462 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDNM0010013    Energy Minerals & Natural Resources DepartmePlanning Grant/New Mexico Climate Corps                            150,000         0 NM       Santa Fe
463 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGLA0010015    BOYS AND GIRLS CLUBS OF ACADIANA, INC. Boys & Girls Clubs of Acadiana                                          277,687        53 LA       Lafayette
464 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGOK0010006    Red River Community Corps, Inc.                Oklahoma Opportunities                                        2,054,494       131 OK       Oklahoma City
465 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHFL0010015    BROWARD COLLEGE                                Broward College                                                 969,263        85 FL       Fort Lauderdale
466 AmeriCorps State and National STATE        Commission Sub   Formula         21AFIAK0010006    ALASKA DEPARTMENT OF COMMERCE COMMUPlaceholder AK Cost Reimbursement                                           222,224        20 AK       Anchorage
467 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010024    DESERT COMMUNITY COLLEGE DISTRICT              College of the Desert                                               -          44 CA       Palm Desert
468 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSDWY002        ACTION RESOURCES INTERNATIONAL                 Action Resources International V                                 60,000         5 WY       Laramie
469 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACCIL0010003    Sinai Health System                            Sinai AmeriCorps Initiative                                     399,109        47 IL       Chicago
470 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACCMI0010001    Cherry Street Services Inc                     Cherry Health AmeriCorps (CHAC)                                 400,765        15 MI       Grand Rapids
471 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACEMO0010001    HEALING ACTION NETWORK, INC.                   Healing Action Network, INC. Public Health Corps                282,553        24 MO       Saint Louis
472 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACFNY0010006    Ronald McDonald House of New York, Inc.        Improving Child Health Through Integrated Systems of C          162,000         6 NY       New York
473 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACINV0010003    City Of Las Vegas                              City of Las Vegas AmeriCorps Program                            778,500        75 NV       Las Vegas
474 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010008    CITY OF PHILADELPHIA                           Community Resource Corps                                        475,000        39 PA       Philadelphia
475 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010023    Greater Richmond Fit4Kids, Inc                 Greater Richmond Fit4Kids Planning Grant                         99,469         0 VA       Richmond
476 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010024    Northern Virginia Mediation Services Inc       Northern Virginia Mediation Services                             98,833         0 VA       Fairfax
477 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010032    Virginia Learns                                Virginia Learns                                                 188,615         0 VA       Glen Allen
478 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010006    American National Red Cross, The               Red Cross Disaster Resiliency Corps                             470,495        19 DC       Washington
479 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010031    American YouthWorks                            American YouthWorks Health Corps                                378,000        14 TX       Austin
480 AmeriCorps State and National EAS          Commission Sub   Formula         22FXGOK0010001    Oklahoma Annual Conference of the United MetOklahoma Conference of the United Methodist Church                 319,950        56 OK       Oklahoma City
481 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHTN0010009    United Way of Middle Tennessee, Inc.           United Way of Middle Tennessee, Inc.                            285,750        25 TN       Nashville
482 AmeriCorps State and National EAS          Commission Sub   Formula         22FXIHI0020001    TEACH FOR AMERICA INC                          Teach For America - Hawai'i                                     140,000       140 NY       New York
483 AmeriCorps State and National NATL         Direct           Competitive     22NDBDC003        Damien Ministries Inc                          We the People Community Health Worker Academy & C               599,473        30 DC       Washington
484 Research                      RES          Direct                           22REAGA001        University of Georgia Research Foundation, Inc.Examining the Influence of Civic Infrastructure on Rura         374,315           GA       Athens
485 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSENE001        Together, Inc. of Metropolitan Omaha           Together, Inc. of Metropolitan Omaha II                          14,000         9 NE       Omaha
486 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSHGA008        College of Coastal Georgia                     Campus Community & Belonging -- College of Coastal               65,000         5 GA       Brunswick
487 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACEMO0010006    Office of State Public Defender                AmeriCorps Holistic Advocate Program                            199,997         8 MO       Columbia
488 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010010    Southwestern Illinois College Community Colle Belleville AmeriCorps                                            443,057        58 IL       Belleville
489 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010006    Pine Mountain Settlement School Inc            Pine Mountain Settlement School II                               44,313         0 KY       Bledsoe
490 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010010    CIVICLEX INCORPORATED                          CivicLex Planning Grant                                          57,938         0 KY       Lexington
491 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDMT0010002    DEPT OF AGRICULTURE MONTANA                    Montana AgCorps                                                 377,986        14 MT       Helena
492 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDUT0010008    UTAH COMMISSION ON SERVICE AND VOLUNTPlaceholder UT Cost Reimbursement                                         425,429         0 UT       Salt Lake City
493 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDWY0010009    WyldFlower Learning Community, Inc.            WyldFlower Learning Community, Inc.                              65,000         0 WY       Sheridan
494 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHAL0010012    Impact America                                 Impact Alabama AmeriCorps Team                                  286,703        17 AL       Birmingham
495 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010011    CASA INC                                       Georgia AmeriCorps Inclusion Program (GAIn)                     135,000         8 MD       Hyattsville
496 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010012    California Conservation Corps                  Watershed Stewards Program: CCC                                 499,995        44 CA       Sacramento
497 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010013    Port Angeles School District                   Port Angeles School District AmeriCorps                         280,263        15 WA       Port Angeles
498 AmeriCorps State and National EAS          Commission Sub   Formula         23FXHSC0010005    TEACH FOR AMERICA INC                          Teach For America - South Carolina                               32,000        32 NY       New York
499 Volunteer Generation Fund     VGF          Direct                           23VGEWI001        STATE OF WISCONSIN DEPT OF ADMIN               Serve Wisconsin-- VGF 2023                                      516,157           WI       Madison
500 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSGTX005        San Antonio Area Foundation                    San Antonio Area Foundation (SALSA)                              50,000         9 TX       San Antonio
501 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACFMA0010001    Northeastern University                        Massachusetts Promise Fellowship Program                        651,427        30 MA       Boston
502 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010003    STATE, NEW JERSEY DEPARTMENT OF                Placeholder NJ Cost Reimbursement                             1,162,194         0 NJ       Trenton
503 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCIN0010003    National Lead for America Inc                  American Connection Corps - Indiana                                 -           4 KS       Dodge City
504 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCIN0010007    HAPPY HOLLOW CHILDREN'S CAMP INC               Happy Hollow Children's Camp II                                  94,250        12 IN       Indianapolis
505 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010006    SPECIAL OLYMPICS MICHIGAN INC                  Special Olympics Michigan AmeriCorps                            258,827        28 MI       Grand Rapids
506 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010014    COLORADO STATE UNIVERSITY                      CSUE RamCorps Initiative                                        174,647        10 CO       Fort Collins
507 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEWI0010003    Central Conservation, Inc.                     WisCorps, Inc.                                                1,337,746       109 WI       La Crosse
508 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGLA0010002    REBUILDING TOGETHER NEW ORLEANS, INC. Rebuilding Together New Orleans Housing Services                         192,510        13 LA       New Orleans
509 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGLA0010003    SHREVEPORT GREEN                               ShreveCorps                                                     100,708        25 LA       Shreveport
510 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGOK0010004    OKLAHOMA COMMUNITY SERVICE COMMISSIOPlaceholder OK Cost Reimbursement                                          632,097         0 OK       Oklahoma City
511 AmeriCorps State and National EAS          Commission Sub   Formula         24FXDAZ0010001    American Conservation Experience               Empowering Environmental Stewards and Leaders                   268,750        62 AZ       Flagstaff
512 AmeriCorps State and National EAS          Commission Sub   Formula         24FXICA0010002    Governor Office of Service & Community Engag Placeholder CA Fixed Amount                                           -         200 CA       Sacramento
513 AmeriCorps State and National EAS          Commission Sub   Formula         24FXICA0010003    Riverside Community College District           Norco College- College Corps                                        -          45 CA       Norco
514 AmeriCorps VISTA              VISTAS       Direct           Support Grant   13VSWAR004        BOYS, GIRLS AND ADULTS COMMUNITY DEVELBOYS GIRLS ADULT COMMUNITY CENTER                                         30,000         5 AR       Marvell
515 AmeriCorps VISTA              VISTAS       Direct           Support Grant   16VSSVA001        SOCIAL SERVICES, VIRGINIA DEPARTMENT OF Virginia Capacity Building Project                                      20,000        14 VA       Glen Allen
516 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSNMI004        Michigan Coalition Against Homelessness        Capacity Building to End Homelessness                            14,413         8 MI       Lansing
517 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHCA0010020    Sierra Nevada Alliance                         Sierra Nevada AmeriCorps Partnership                            700,077        26 CA       South Lake Tahoe
518 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSPHI002        Hawaii State Department of Education           Waipahu High School                                              58,800         8 HI       Honolulu
519 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCMI0010015    CITY OF ANN ARBOR                              Ann Arbor Climate Corps                                         248,653        10 MI       Ann Arbor




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520 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCOH0010002    Mercy Health Cincinnati LLC                        Mercy Health Corps                                               229,355        14 OH       Cincinnati
521 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEWI0010004    Milwaukee Public Library Foundation                LibraryCorps                                                     476,280        20 WI       Milwaukee
522 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEWI0010009    Public Allies Inc                                  Public Allies Wisconsin AmeriCorps                               847,691        36 WI       Milwaukee
523 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEWI0010013    Easter Seals Wisconsin Inc                         Easter Seals Wisconsin AmeriCorps Partnership                    213,125        25 WI       Middleton
524 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACFVT0010004    DEPARTMENT OF ENVIRONMENTAL CONSERVAECO Vermont                                                                     489,738        26 VT       Montpelier
525 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010016    Reading & Math, Inc.                               California Reading and Math Corps                              3,191,076       198 MN       Minneapolis
526 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCIL0010002    ILLINOIS DEPARTMENT OF HUMAN SERVICE Placeholder FY2022 IL Cost Reimbursement                                     1,492,060         0 IL       Springfield
527 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCIN0010009    CITY OF WEST LAFAYETTE                             City of West Lafayette AmeriCorps Program                        249,249        21 IN       West Lafayette
528 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDCO0010029    Bright Futures                                     Bright Futures                                                   189,000         7 CO       Telluride
529 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010015    BOYS' AND GIRLS' CLUB OF LAWRENCE                  Boys & Girls Club Academic and Social-Emotional Lead             599,998        78 KS       Lawrence
530 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEWI0010024    Operation Fresh Start Inc                          OFS Climate Corps Planning Grant                                  72,237         0 WI       Madison
531 AmeriCorps State and National STATE        Commission Sub   Formula         21AFFRI0010006    RI DEPARTMENT OF ELEMENTARY AND SECON Placeholder RI Planning Grant                                                 149,895         0 RI       Providence
532 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010020    South Carolina First Steps to School Readiness South Carolina First Steps to School Readiness                       472,251        48 SC       Columbia
533 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010027    South Carolina Free Clinic Association             SCFCA Support for Communities                                    283,692        12 SC       Union
534 AmeriCorps State and National STATE        Commission Sub   Formula         21AFIOR0010008    Ethos, Inc.                                        Rural Outreach Program                                           221,430        10 OR       Portland
535 AmeriCorps State and National EAS          Commission Sub   Formula         21FXGTX0010007    THE STUDENT CONSERVATION ASSOCIATION, SCA Texas Lonestar Conservation Corps                                         355,050        28 VA       Arlington
536 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010001    Cal State LA University Auxiliary Services Inc     Californians for All College Fellowship ¿ San Gabriel Va             -         152 CA       Los Angeles
537 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010006    California State University, Bakersfield Auxiliary CSUB Auxiliary for Sponsored Programs Administration                 -          60 CA       Bakersfield
538 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010021    CAL POLY CORPORATION                               College Corps - Cal Poly                                             -         284 CA       San Luis Obispo
539 Volunteer Generation Fund     VGF          Direct                           21VGCIL001        ILLINOIS DEPARTMENT OF HUMAN SERVICE Serve Illinois Commission                                                      678,357           IL       Springfield
540 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACIAK0010002    RURAL ALASKA COMMUNITY ACTION PROGRA Resilient Alaska Youth                                                         420,511        21 AK       Anchorage
541 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020004    STATE OF MARYLAND EXECUTIVE OFFICE                 Volunteer Maryland                                               592,159        24 MD       Crownsville
542 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020005    Equity Now Inc                                     Equity Now, Inc.                                                 783,341        30 MD       Lanham
543 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020018    Improve Your Tomorrow                              Improve Your Tomorrow Maryland AmeriCorps                        485,999        18 CA       Sacramento
544 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020021    Youth Educational Services Incorporated            Youth Educational Services - Americorps Planning                 134,946         0 MD       Baltimore
545 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010009    Butler Healthcare Providers                        Family Services of Butler Memorial Hospital                      199,946        23 PA       Butler
546 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010002    Compania para el Desarrollo Integral de la PeninPeninsula of Cantera Project                                        133,037        12 PR       San Juan
547 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010025    United Way of Central Virginia                     UWCV Childcare and Workforce Initiative                          169,060         0 VA       Lynchburg
548 AmeriCorps State and National STATE        Commission Sub   Formula         22AFENE0010012    Partnership 4 Kids                                 Partnership 4 Kids College and Career Corps                      206,550        13 NE       Omaha
549 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFCT0010005    Jumpstart for Young Children, Inc.                 Jumpstart Connecticut                                            683,929       184 MA       Boston
550 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010014    Computers For Children, Inc.                       Mission Ignite: Tech 360 New York                                926,370        97 NY       Buffalo
551 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010021    THE RESEARCH FOUNDATION FOR THE STATE FAFSA AmeriCorps Program Year 2                                               399,870        70 NY       Albany
552 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESIWA0010007    WASHINGTON STATE DEPARTMENT OF EMPLO Washington Service Corps                                                     6,931,800       450 WA       Olympia
553 AmeriCorps State and National EAS          Commission Sub   Formula         22FXCOH0010002    MIAMI UNIVERSITY                                   Service+ at Miami University                                     376,920        70 OH       Oxford
554 AmeriCorps State and National EAS          Commission Sub   Formula         22FXGOK0010002    TEACH FOR AMERICA INC                              Teach For America-Oklahoma                                        45,000        45 NY       New York
555 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHFL0010010    UNIVERSITY OF FLORIDA                              Florida 4-H Environmental Education FIXED GRANT                  285,120        25 FL       Gainesville
556 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHTN0010008    BRIDGES USA Inc                                    Bridge Builders                                                  268,250        36 TN       Memphis
557 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSHGA001        Frank Callen Boys & Girls Club, Inc.               Expanding Community Outreach to Prevent Youth Gang                50,000         5 GA       Savannah
558 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACEMO0010010    ST LOUIS BLACK REPERTORY                           St. Louis Black Repertory Company Community Arts Fe              148,456         6 MO       Saint Louis
559 AmeriCorps State and National STATE        Commission Sub   Formula         23AFBDE0010005    Leading Youth Through Empowerment Inc              Leading Youth Through Empowerment Americorps                     130,941        16 DE       Wilmington
560 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010015    Boys & Girls Club of Elgin                         Boys & Girls Clubs of North Central Illinois                     202,500        15 IL       Elgin
561 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010019    Boys & Girls Club of Livingston County             AmeriCorps Project Learn                                         306,349        36 IL       Pontiac
562 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010023    Gateway to the Great Outdoors                      Gateway to the Great Outdoors V                                  270,000        10 IL       Chicago
563 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010009    Emerging Workforce Initiative, Inc                 Emerging Workforce Initiative, Inc. II                            56,384         0 KY       Louisville
564 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDWY0010006    The Science Zone Inc.                              The Science Zone                                                 171,256        19 WY       Casper
565 AmeriCorps State and National STATE        Commission Sub   Formula         23AFEMO0010008    THE EDUCATOR ACADEMY, INC                          THE EDUCATOR ACADEMY, INC                                        574,986        23 MO       Kansas City
566 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHAL0010001    Governors Office of Volunteer Services             Placeholder FY20 Alabama Cost Reimbursement                      738,849        13 AL       Montgomery
567 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010003    Breakthrough Atlanta, Inc.                         Breakthrough Atlanta, Inc. Georgia AmeriCorps Program            364,230        63 GA       Atlanta
568 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010015    University of Georgia Research Foundation, Inc.UGA Sports Literacy Program AmeriCorps Planning Gra                   71,253         0 GA       Athens
569 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010016    KENNESAW STATE UNIVERSITY RESEARCH ANDAmeriCorps Service Fellowship at Kennesaw State Univ                          169,818        25 GA       Kennesaw
570 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010017    COMMUNITY AFFAIRS, GEORGIA DEPARTMENTPlaceholder GA Cost Reimbursement                                            1,338,156         0 GA       Atlanta
571 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010019    University of Georgia Research Foundation, Inc.UGA Community Food Fellows AmeriCorps Georgia Sta                    269,948        22 GA       Athens
572 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010004    CivicWell                                          CivicSpark                                                           -           0 CA       Sacramento
573 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010009    Reading & Math, Inc.                               Ampact - College Corps                                         1,225,577        72 MN       Minneapolis
574 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIGU0010002    Sanctuary Inc Of Guam                              AmeriCorps Ayuda Para I Komunidat                                360,000        40 GU       Chalan Pago
575 AmeriCorps State and National EAS          Commission Sub   Formula         23FXBDE0010002    WEST END NEIGHBORHOOD HOUSE INC                    West End Neighborhood House AmeriCorps                           120,879        10 DE       Wilmington
576 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFME0010005    AGRICULTURE, CONSERVATION & FORESTRY, Maine Conservation Corps AmeriCorps Program                                 1,191,699        99 ME       Augusta
577 AmeriCorps State and National EAS          Commission Sub   Formula         23FXHSC0010002    United Way of the Midlands Inc                     Midlands Reading Consortium AmeriCorps                           216,000         8 SC       Columbia
578 AmeriCorps State and National EAS          Commission Sub   Formula         23FXHSC0010004    Palmetto Conservation Foundation                   Palmetto Conservation Foundation III                             439,750        30 SC       Columbia
579 AmeriCorps Seniors            RSVP         Direct           Non-stipended   23SRFNH003        Monadnock Family Services                          Monadnock RSVP                                                    86,913       110 NH       Keene
580 Volunteer Generation Fund     VGF          Direct                           23VGICA001        CASA of Los Angeles                                CASA of Los Angeles                                              275,594           CA       Monterey Park
581 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSIWA002        United Way of King County                          United Way of King County VISTA                                   75,000        26 WA       Seattle
582 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010001    Jewish Renaissance Foundation                      Perth Amboy Healthy Future                                       256,530        34 NJ       Edison
583 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010013    The Waterfront Project, Inc.                       The Waterfront Project Inc                                        85,000         0 NJ       Jersey City
584 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCIN0010002    Workforce Development, Indiana Department OPlaceholder IN Cost Reimbursement                                        609,994         0 IN       Indianapolis




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585 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010002    MICHIGAN DEPARTMENT OF LABOR AND ECONPlaceholder MI Cost Reimbursement                                    1,132,530         0 MI       Okemos
586 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010008    Area Agency on Aging, Region One, Inc        Caring Circles                                                 307,962        35 AZ       Phoenix
587 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDID0010003    Regents of the University of Idaho           Digital Navigators Planning Grant                               53,104         0 ID       Moscow
588 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDNM0010007    Santa Fe Boys & Girls Club Inc.              Boys & Girls Clubs of Santa Fe/Las Vegas                       250,000        12 NM       Santa Fe
589 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEND0010002    Cooperstown Community Activities             Kidz Count AmeriCorps Program                                  102,102        10 ND       Cooperstown
590 AmeriCorps State and National STATE        Commission Sub   Formula         24AFFRI0010001    REFUGEE YOUTH SOLIDARITY THROUGH EDUCRYSE Formula                                                           100,100        15 RI       Providence
591 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGAR0010004    Every Arkansan, Inc.                         Every Arkansan, Inc.                                             1,544         0 AR       North Little Rock
592 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGLA0010001    THE FOOD BANK OF CENTRAL LOUISIANA, INCMobile Pantry Program                                                345,654        20 LA       Alexandria
593 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGOK0010002    Camp Fire Green Country, Inc.                Camp Fire Green Country                                        270,000        17 OK       Tulsa
594 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHSC0010001    United Way of Kershaw County                 United Way of Kershaw County                                   257,246        30 SC       Camden
595 AmeriCorps State and National EAS          Commission Sub   Formula         24FXEWI0010001    TEACH FOR AMERICA INC                        Teach For America Milwaukee                                     20,000        20 NY       New York
596 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSBWV002        WV'S Promise Youth Alliance Inc              WV's Promise Youth Alliance Inc                                 35,000        41 WV       Kearneysville
597 AmeriCorps VISTA              VISTAS       Direct           Support Grant   25VSDCO001        Conservation Legacy                          Energy Communities DOI VISTA Project                            50,000        27 CO       Durango
598 AmeriCorps VISTA              VISTAS       Direct           Support Grant   14VSPWA003        United Way of Spokane County                 United Way of Spokane County                                    50,000         6 WA       Spokane
599 AmeriCorps VISTA              VISTAS       Direct           Standard        18VSWKS005        SERVICEMEMBER AGRICULTURAL VOCATION ESAVE                                                                       -           7 KS       Riley
600 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHAR0010006    State of Arkansas                            Placeholder AR Planning                                        463,153         0 AR       Little Rock
601 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHGU0010011    Guam Memorial Hospital Authority             AmeriCorps Guam Memorial Hospital Authority (GMHA              180,000        20 GU       Tamuning
602 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHTN0010008    LITERACY MID SOUTH INC                       LiteracyCorps                                                   82,893        42 TN       Memphis
603 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBPA0010004    ArtistYear                                   ArtistYear PA                                                1,000,000        40 PA       Philadelphia
604 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBWV0010005    THE HIGH ROCKS EDUCATIONAL CORPORATIOHigh Rocks: Educating Youth, Enriching Communities                   1,432,160        69 WV       Hillsboro
605 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCMI0010011    United Way of Genesee County                 Flint Urban Safety and Health Corps                            489,542        24 MI       Flint
606 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCMI0010012    URBAN NEIGHBORHOOD INITIATIVES INC           Detroit AmeriCorps Youth Success Program                       282,531        25 MI       Detroit
607 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCMI0010016    HURON PINES RESOURCE CONSERVATION ANHuron Pines AmeriCorps                                                      -           0 MI       Gaylord
608 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEIA0010012    City of Dubuque                              City of Dubuque AmeriCorps Program                             410,500        41 IA       Dubuque
609 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEIA0010014    Economic Development Authority Iowa          IEDA AmeriCorps (Competitive)                                  107,135        15 IA       Des Moines
610 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEMN0010007    Breakthrough Twin Cities                     Breakthrough Twin Cities                                       342,677        68 MN       Saint Paul
611 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010026    Child Abuse Prevention Council of Sacramento Birth and Beyond                                             1,085,811        45 CA       North Highlands
612 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBDC0010004    Higher Achievement Program, Inc.             Higher Achievement                                              23,625         2 DC       Washington
613 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCIN0010010    City of Indianapolis                         City of Indianapolis                                           341,428        18 IN       Indianapolis
614 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEIA0010029    World Relief Corp of National Ass            AmeriCorps Economic Opportunity Program                        100,000         0 MD       Baltimore
615 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEWI0010023    City of Green Bay                            City of Green Bay AmeriCorps Planning Grant II                  61,157         0 WI       Green Bay
616 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHNC0010018    Duke University                              Duke University NC LiteracyCorps                               577,834        41 NC       Durham
617 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010019    United Way of Sumter Clarendon and Lee Coun Financial Literacy and Readiness for Everyone (F.R.E.E.         276,058        28 SC       Sumter
618 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010029    SOUTH CAROLINA ASSOCIATION FOR COMMUSCACED Planning Grant                                                   123,680         0 SC       North Charleston
619 AmeriCorps State and National STATE        Commission Sub   Formula         21AFIOR0010009    Coalition for Racial and Educational Justice AmeriCorps Connect2Complete                                    746,392        38 OR       Portland
620 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010011    San Bernardino Community College             San Bernardino Community College District                          -          42 CA       San Bernardino
621 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACDAZ0010005    Judiciary Courts of the State of Arizona     Arizona Supreme Court, Administrative Office of the Co         198,614        31 AZ       Phoenix
622 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACFCT0010001    COMMUNITY HEALTH CENTER, INCORPORATE Healthy Communities                                                    405,000        15 CT       Middletown
623 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACFNY0010001    Community Health Care Association of New Yo CHCANYS NYS Public Health Corps                               2,600,000       101 NY       New York
624 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020016    Break A Difference, Inc.                     Break A Difference                                             341,009        32 MD       Baltimore
625 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020023    Reading & Math, Inc.                         Ampact AmeriCorps Planning - Maryland                          150,000         0 MN       Minneapolis
626 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010003    DEPARTMENT OF LABOR & INDUSTRY PA            Placeholder PA Cost Reimbursement                            1,533,762         0 PA       Harrisburg
627 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010006    CASA INC                                     Moving Forward NOVA AmeriCorps Program                         351,336        20 MD       Hyattsville
628 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010016    SOCIAL SERVICES, VIRGINIA DEPARTMENT OF Placeholder VA Cost Reimbursement                                       -           0 VA       Glen Allen
629 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010022    Greater Roanoke Workforce Development BoardRural Virginia Workforce Network                                 102,511         0 VA       Roanoke
630 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010019    Monroe Community College                     Rochester AmeriCorps                                           856,797        54 NY       Rochester
631 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010024    CITY OF ROCHESTER CITY HALL                  City of Rochester                                              378,000        33 NY       Rochester
632 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010037    City of Longview                             City of Longview Partners in Prevention Planning Grant          85,524         0 TX       Longview
633 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESDNM0010001    NACA-Inspired Schools Network                NACA-Inspired Schools Network II                               400,000        20 NM       Albuquerque
634 AmeriCorps State and National EAS          Commission Sub   Formula         22FXCIN0010005    Workforce Development, Indiana Department OPlaceholder IN Fixed                                             134,623         0 IN       Indianapolis
635 AmeriCorps State and National EAS          Commission Sub   Formula         22FXDUT0010004    State of Utah Cultural and Community EngagemUtah STEM Foundation                                            450,000        36 UT       Millcreek
636 AmeriCorps State and National EAS          Commission Sub   Formula         22FXFMA0020002    THE STUDENT CONSERVATION ASSOCIATION, SCA Massachusetts Conservation Corps                                  415,800        22 VA       Arlington
637 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHTN0010004    Memphis Teacher Residency, Inc.              Memphis Teacher Residency                                      900,000        36 TN       Memphis
638 AmeriCorps State and National NATL         Direct           Competitive     22NDFMA008        Edward M Kennedy Community Health Center, Edward M. Kennedy Community Health Center, Inc.                     7,699         3 MA       Worcester
639 Research                      RES          Direct                           22REAPA001        Drexel University                            Drexel University                                            1,018,410           PA       Philadelphia
640 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSBPR002        MUJERES DE ISLAS, INC                        Culebra: Sustainability Strengthened!                           21,776         5 PR       Culebra
641 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSEWI001        WISCONSIN ASSOCIATION OF FREE & CHARITAWisconsin Association of Free & Charitable Clinics, Inc              129,583        21 WI       Pewaukee
642 AmeriCorps VISTA              VISTAS       Direct           Standard        22VSGOK001        Oklahomans for Equality                      Oklahomans for Equality Outreach Development                       -           2 OK       Tulsa
643 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACEIA0010002    Economic Development Authority Iowa          IEDA AmeriCorps                                                413,390        40 IA       Des Moines
644 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010025    BELIEVE IN STUDENTS INC                      FAST Fund-Planning Grant                                       125,000         0 PA       West Chester
645 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010015    HEALTH SERVICES KENTUCKY CABINET FOR DAIL Planning Grant                                                     58,000         0 KY       Frankfort
646 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDMT0010004    Fish Wildlife & Parks Montana Department     Fish, Wildlife & Parks AmeriCorps                              242,991         9 MT       Helena
647 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDUT0010004    University of Utah                           U Service Corps                                                 89,997         0 UT       Salt Lake City
648 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010010    Pasco School District 1                      Serve Tri-Cities                                               540,000        20 WA       Pasco
649 Days of Service               IPB          Direct                           23BIHNC002        Land-0f-Sky Regional Council                 Land of Sky Regional Council III                               338,209           NC       Asheville




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650 AmeriCorps State and National EAS          Commission Sub   Competitive     23ESFNY0010002    City of New York Office of Mayor               City Service Corps                                                   -          80 NY       New York
651 AmeriCorps Seniors            FGP          Direct           Stipended       23SFBPA001        PHILADELPHIA CITY OF DEPARTMENT OF HUMPhiladelphia FGP                                                          524,491        63 PA       Philadelphia
652 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSCIL002        Board of Trustees of Community College Distric City Colleges of Chicago Active                                   71,655         7 IL       Chicago
653 AmeriCorps VISTA              VISTAS       Direct           Standard        23VSFNH002        Northeast Organic Farming Association of New NOFA-NH's Farm Share Program & Food Access Coord                       -           1 NH       Concord
654 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSHFL003        FLORIDA COMMISSION ON COMMUNITY SERV Florida Commission on Community Service                                     55,000        10 FL       Tallahassee
655 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACBPA0010001    CITY YEAR, INC.                                City Year Greater Philadelphia                                 3,750,000       150 MA       Boston
656 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACCMI0010002    Hope Network West Michigan                     MEC Reading Corps                                              1,177,770       165 MI       Grand Rapids
657 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCIN0010001    PATH INC                                       PATH, Inc                                                        140,000         8 IN       Portage
658 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010004    National Lead for America Inc                  American Connection Corps - Michigan                             282,000        16 KS       Dodge City
659 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCOH0010005    Omega Community Development Corporation Omega Community Development Corporation AmeriCo                          75,000         0 OH       Dayton
660 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010013    Blue Elements                                  Blue Elements Watershed Stewards                                 174,544        10 CO       Canon City
661 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDID0010002    White Clouds Preserve                          White Clouds Preserve Operational Grant                          118,691        30 ID       Clayton
662 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDNM0010005    Rockefeller Philanthropy Advisors, Inc.        Planning Grant/Prepared To Teach                                 228,648         0 NY       New York
663 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGAR0010007    Arkansas Rural Health Partnership              Arkansas Rural Health Partnership                                377,579        20 AR       Lake Village
664 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHFL0010006    THE ARC OF PALM BEACH COUNTY, INC.             The Arc of Palm Beach County                                     269,998        31 FL       Riviera Beach
665 AmeriCorps State and National EAS          Commission Sub   Formula         24FXHGA0010001    University of Georgia                          Georgia 4-H/AmeriCorps Project                                   497,220        29 GA       Athens
666 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSDMT002        Rural Dynamics Inc                             RDI Financial Wellness                                            60,000         9 MT       Great Falls
667 AmeriCorps VISTA              VISTAS       Direct           Support Grant   17VSNIL005        A SAFE HAVEN FOUNDATION                        A Safe Haven Foundation Opioid Intervention                        5,000         5 IL       Chicago
668 AmeriCorps VISTA              VISTAS       Direct           Support Grant   17VSPCA013        Community Partners                             SLATE-Z, A Project of Community Partners                          45,000         9 CA       Los Angeles
669 AmeriCorps VISTA              VISTAS       Direct           Support Grant   17VSWOK001        Red River Community Corps, Inc.                Oklahoma In Action - VISTA                                        85,000        35 OK       Oklahoma City
670 AmeriCorps VISTA              VISTAS       Direct           Support Grant   18VSNMI012        COUNTY OF INGHAM                               Power of We                                                       31,000        14 MI       Lansing
671 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSSFL005        Treasure Coast Food Bank Inc                   Ending Hunger                                                     21,500         3 FL       Fort Pierce
672 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHCA0010019    American National Red Cross, The               CA AmeriCorps Disaster Team - American National Red              538,222        20 DC       Washington
673 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHWA0010010    CivicWell                                      CivicSpark Washington                                                -           0 CA       Sacramento
674 AmeriCorps State and National EAS          Commission Sub   Competitive     20ESHCA0010006    Interval House                                 Interval House - Housing Opportunity & Access Program            476,280        20 CA       Long Beach
675 AmeriCorps VISTA              VISTAS       Direct           Standard        20VSNIL008        Greater Chicago Food Depository                Greater Chicago Food Depository II                                   -           5 IL       Chicago
676 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSPMT001        University of Montana                          MTCC VISTA                                                       105,000        27 MT       Missoula
677 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSSMS004        Boys & Girls Club of the Golden Triangle, Inc. Boys & Girls Club of the Golden Triangle Project Learn            40,551        16 MS       Starkville
678 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBPA0010007    Up2Us, Inc                                     AmeriCorps Up2Us Coach -- PennServe                              199,999         9 NY       New York
679 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACGTX0010008    Project Transformation North Texas             Project Transformation AmeriCorps                                615,696        79 TX       Dallas
680 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACHFL0010006    SUNDARI FOUNDATION, INC., THE                  Lotus House Women's Shelter AMERICORPS Project                   190,402         8 FL       Miami
681 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010014    Community Economic Development                 AmeriCorps Intermediary Program                                  539,063        20 MI       Lansing
682 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDCO0010041    Mesa County                                    Mesa County AmeriCorps Planning Grant                            112,150         0 CO       Grand Junction
683 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEIA0010016    Volunteer Service, Iowa Commission On          Placeholder IA Cost Reimbursement                                546,380         0 IA       Des Moines
684 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010019    Eudora School District Kansas Unified School D Eudora School District 491 Planning Grant                        100,000         0 KS       Eudora
685 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010019    University of San Diego                        University of San Diego                                              -         121 CA       San Diego
686 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSDWY001        SERVE WYOMING                                  ServeWyoming                                                      60,000        10 WY       Casper
687 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACIWA0010001    WASHINGTON STATE DEPARTMENT OF EMPLO WA State Employment Security Department                                    215,728         8 WA       Olympia
688 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020019    STATE OF MARYLAND DEPARTMENT OF NATUR Maryland Conservation Corps- MCC                                          922,079        42 MD       Annapolis
689 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020020    Digital Harbor Foundation, Inc.                Planning Grant - Digital Navigators - Digital Harbor Fdn         577,784        25 MD       Baltimore
690 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010025    PRATYUSH SINHA FOUNDATION                      Planning Grant- Mindful Child Initiative (MCI)                    56,766         0 PA       Allentown
691 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBWV0010002    Preservation Alliance of West Virginia, Inc.   Preserve WV AmeriCorps                                           537,493        25 WV       Elkins
692 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBWV0010012    WomenCare, Inc                                 FamilyCare AmeriCorps Program                                    125,000         5 WV       Scott Depot
693 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010002    Framingham State University                    Framingham Teacher Residency AmeriCorps Program                  539,999        20 MA       Framingham
694 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGMS0010011    Improve Your Tomorrow                          Improve Your Tomorrow IV                                          75,000         0 CA       Sacramento
695 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGMS0010014    The University of Southern Mississippi         Golden Eagle Teacher Residency Program                           319,411        30 MS       Hattiesburg
696 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010028    Travis, County of                              Travis County CAPITAL AmeriCorps Project                         437,498        20 TX       Austin
697 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010034    Latched Support Inc.                           Community-Based Doula Program for Bexar County, Te                91,799         0 TX       Windcrest
698 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010035    African American Men’s Health Clinic           Black Men's Health Clinic                                        100,000         0 TX       Austin
699 AmeriCorps State and National STATE        Commission Sub   Formula         22AFINV0010001    City of Henderson                              City of Henderson AmeriCorps                                     260,279        20 NV       Henderson
700 AmeriCorps State and National STATE        Commission Sub   Formula         22AFINV0010013    The Good Deed Project                          Delivering Hope - AmeriCorps Planning Grant                      149,932         0 NV       Las Vegas
701 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESFMA0010004    TerraCorps, Inc.                               TerraCorps MA - Fixed                                          1,200,000        48 NH       Windham
702 AmeriCorps State and National EAS          Commission Sub   Formula         22FXCIN0010003    Center for Interfaith Cooperation              Interfaith Enrichment Corps                                      300,000        14 IN       Indianapolis
703 AmeriCorps State and National EAS          Commission Sub   Formula         22FXCKY0010005    TEACH FOR AMERICA INC                          Teach For America-Kentucky                                        28,000        28 NY       New York
704 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHFL0010016    COMMUNITIES IN SCHOOLS OF JACKSONVILLECommunities In Schools of Jacksonville, Inc. II                           711,450        35 FL       Jacksonville
705 Research                      RES          Direct                           22REAPA002        UNIVERSITY OF PITTSBURGH - OF THE COMMOResearch for Power                                                       730,309           PA       Pittsburgh
706 AmeriCorps VISTA              VISTAS       Direct           Standard        22VSCIL011        Loyola University Chicago Law School - HJP     Health Justice Project                                               -           2 IL       Chicago
707 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSEMN002        Literacy Minnesota                             Literacy Minnesota II                                            169,327        18 MN       Saint Paul
708 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSGLA004        DILLARD UNIVERSITY                             Dillard University Division of Student Success                    30,000         5 LA       New Orleans
709 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACICA0010002    IFOSTER N CCDA ATTAINMENT IRU                  TAY Public Health AmeriCorps                                   1,253,595       100 CA       Truckee
710 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010014    BOYS & GIRLS CLUBS OF CHICAGO INC              AmeriCorps Academic Success                                      175,500         8 IL       Chicago
711 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010005    KENTUCKY COMMUNITY AND TECHNICAL COL HCTC PeerForward                                                            97,872         8 KY       Hazard
712 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDUT0010006    Utah State University                          Refugee and Immigrant Youth K-12 Tutoring Planning G              80,539         0 UT       Logan
713 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDWY0010008    Phorge, Inc.                                   STEAMakers 307(a)                                                 14,861         0 WY       Sheridan
714 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHAL0010009    Reid State Technical College                   EmpowerEd Conecuh AmeriCorps                                     337,500        25 AL       Evergreen




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715 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHTN0010002    Tennessee Charitable Care Network                 Tennessee Charitable Care Network                               56,999         0 TN       Franklin
716 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIGU0010003    Oceanic Ascent Education Inc                      AmeriCorps Guahan Sustainable Culture (GSC)                    675,000        50 GU       Barrigada
717 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010015    Phoenix Conservancy                               Phoenix Conservancy                                            219,999        15 WA       Spokane
718 AmeriCorps State and National EAS          Commission Sub   Competitive     23ESFNY0010003    CITY YEAR, INC.                                   City Year New York FPG                                       4,600,000       195 MA       Boston
719 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFME0010003    Penobscot Indian Nation                           Penobscot Nation Energy Efficency Program                      117,674        10 ME       Indian Island
720 Days of Service               MLK          Direct                           23MKFNY001        New York Edge, Inc.                               Legions of Hope: Student Volunteer Program                     178,550           NY       Woodside
721 Volunteer Generation Fund     VGF          Direct                           23VGICA004        ICOULDBE.ORG INC.                                 iCouldBe.org, Inc                                              273,806           NY       New York
722 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSDID002        IDAHO DEPARTMENT OF CORRECTION                    Correction, Idaho Department                                    25,000        12 ID       Boise
723 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSGTX002        El Pasoans Fighting Hunger Food Bank              El Pasoans Fighting Hunger Food Bank                            45,000        10 TX       El Paso
724 AmeriCorps VISTA              VISTAS       Direct           Standard        23VSHTN004        Lookout Mountain Conservancy                      Lookout Mountain Conservancy                                       -           3 TN       Chattanooga
725 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBDC0010002    FOSTER AND ADOPTIVE PARENT ADVOCACY CFoster Care Mentoring & Mediation Program                                    39,800         3 DC       Washington
726 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010016    SEL4NJ INC                                        SEL4NJ INC                                                      99,901         0 NJ       Morristown
727 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010001    Communities First Inc                             Communities First Inc. AmeriCorps Program                      269,999        18 MI       Flint
728 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010002    Colorado Youth for a Change                       Corps for a Change                                             699,844        40 CO       Denver
729 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGLA0010005    City of West Monroe                               Synergy, Education, & Empowerment of West Monroe               145,325        46 LA       West Monroe
730 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGOK0010003    Jennings Public School District                   Lead to Read (Successful Service)                              378,000        28 OK       Jennings
731 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHNC0010004    Campus Compact                                    College Renaissance Corps NC                                   119,990        12 MA       Boston
732 AmeriCorps VISTA              VISTAS       Direct           Support Grant   17VSSKY004        NORTHERN KENTUCKY UNIVERSITY RESEARCHEngageKY VISTA Program                                                      102,912        53 KY       Newport
733 AmeriCorps VISTA              VISTAS       Direct           Support Grant   18VSNMI006        Community Action Network                          Full STEAM Ahead for Under-Resourced Washtenaw Co               45,000        39 MI       Ann Arbor
734 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHUT0010006    The Four Corners School of Outdoor Education Four Corners School of Outdoor Education                                -           0 UT       Monticello
735 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSAME001        AGRICULTURE, CONSERVATION & FORESTRY, Ending Hunger Corps                                                        180,390        15 ME       Augusta
736 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSPHI004        STATE OF HAWAII DEPARTMENT OF LAND & NA Department of Land and Natural Resources-OCCL                             15,000        10 HI       Honolulu
737 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSWLA001        NEW ORLEANS COMMISSION ON THE BICENTECity of New Orleans - Mayor Cantrell                                         40,000        15 LA       New Orleans
738 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSWMO002        Community Partnership of Southeast Missouri Community Partnership of Southeast Missouri                           40,000        16 MO       Cape Girardeau
739 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBMD0010006    Habitat for Humanity of the Chesapeake, Inc. HabiCorps                                                           197,457         8 MD       Halethorpe
740 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCIN0010004    Young Men's Christian Association of Greater In Y-AmeriCorps                                                     148,479        31 IN       Indianapolis
741 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCMI0010013    CHILD AND FAMILY SERVICES OF NORTHWESTYouthWork Conservation Corps                                               844,595       115 MI       Traverse City
742 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACDCO0010005    LA PUENTE HOME INC                                Rural Alliance for Dignity                                     976,374        60 CO       Alamosa
743 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEIA0010011    City of Davenport                                 City of Davenport AmeriCorps/Youth Corps Program               437,206        50 IA       Davenport
744 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACFNY0010004    Cypress Hills Local Development Corp              East Brooklyn Collaborative for Youth Development              268,093        28 NY       Brooklyn
745 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010027    Strategic Energy Innovations                      CCEO                                                           799,983        32 CA       San Rafael
746 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010028    Shasta County Child Abuse Prevention Coordin North State Rural AmeriCorps Hope Project                           479,315        22 CA       Redding
747 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010033    Up2Us, Inc                                        Up2Us Sports AmeriCorps Coach Program, California              514,250        69 NY       New York
748 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBDC0010008    Serve DC                                          Placeholder DC Cost Reimbursement                              191,556         0 DC       Washington
749 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010018    Eastern Michigan University                       Returning Citizens AmeriCorps Program                          158,203        19 MI       Ypsilanti
750 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010032    Cherry Street Services Inc                        Cherry Health AmeriCorps Planning Grant                        240,000         0 MI       Grand Rapids
751 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCOH0010017    Research Institute at Nationwide Children's HosConnecting Families 4 Success Corps: Nationwide Chi                94,500         5 OH       Columbus
752 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDCO0010042    ALPINE ACHIEVERS INITIATIVE                       Planning Grant                                                 149,998         0 CO       Alamosa
753 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEWI0010008    Wisconsin Department of Public Instruction        Farm to School Program                                         405,000        18 WI       Madison
754 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHFL0010018    Community Training Works, Inc.                    Community Training Works, Inc. II                              342,891        22 FL       Crawfordville
755 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHFL0010024    Boys' and Girls' Club of North Central Florida, InBoys & Girls Club of North Central Florida - S.T.E.M           840,510        62 FL       Perry
756 AmeriCorps State and National STATE        Commission Sub   Formula         21AFIAK0010009    Alaska Fellows Program                            Alaska Fellows Program Planning                                 44,187         0 AK       Fairbanks
757 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010010    Glendale Community College District               Glendale Community College                                         -          82 CA       Glendale
758 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSEIA002        Volunteer Service, Iowa Commission On             Volunteer Iowa VISTA Program                                   220,000        52 IA       Des Moines
759 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACDAZ0010004    NORTHERN ARIZONA UNIVERSITY                       Arizona Teacher Residency                                      700,000        40 AZ       Flagstaff
760 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020007    CASA INC                                          New Americans Citizenship Project of MD                        539,440        28 MD       Hyattsville
761 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020017    CASA INC                                          Climate Justice Education and Green Vocational Trainin         215,993         8 MD       Hyattsville
762 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010022    COUNTY OF ALLEGHENY                               KEYS Service Corps - AmeriCorps                              1,125,222       110 PA       Pittsburgh
763 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010021    State Council of Higher Education for VI          State Council of Higher Education for Virginia                 181,575         0 VA       Richmond
764 AmeriCorps State and National STATE        Commission Sub   Formula         22AFENE0010013    NEBRASKA DEPARTMENT OF HEALTH & HUMANPlaceholder NE Cost Reimbursement                                           115,000         0 NE       Lincoln
765 AmeriCorps State and National STATE        Commission Sub   Formula         22AFENE0010014    Partnership 4 Kids                                Partnership 4 Kids Planning Grant                               31,998         0 NE       Omaha
766 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010017    Boys & Girls Club of Metro South Inc              Boys & Girls Club of Metro South AmeriCorps Program            263,358        10 MA       Taunton
767 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010022    BOSTON MEDICAL CENTER CORPORATION                 BMC Planning Grant                                              59,762         0 MA       Boston
768 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFME0010010    Democracy Maine &                                 AmeriCorps Planning Grant: DM                                   42,000         0 ME       Portland
769 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010003    Wayne County Action Program, Inc.                 Finger Lakes Living Healthy                                    290,520        38 NY       Lyons
770 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010015    NATURAL HISTORY MUSEUM OF ADIRONDACK The Wild Center AmeriCorps For School-Community Pa                          286,474        10 NY       Tupper Lake
771 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010032    Child Poverty Action Lab                          Child Poverty Action Lab - Planning Grant                       99,956         0 TX       Dallas
772 AmeriCorps State and National STATE        Commission Sub   Formula         22AFIHI0010002    Papahana Kuaola                                   Papahana Kuaola                                                219,783        22 HI       Kaneohe
773 AmeriCorps State and National EAS          Commission Sub   Formula         22FXFCT0020001    Health360, Inc.                                   HealthForward                                                  297,000        11 CT       Newtown
774 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010017    Chicago Debate Commission                         Chicago Debate Commission                                       82,078        10 IL       Chicago
775 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010013    Feed Louisville Inc                               Feed Louisville planning grant                                  41,967         0 KY       Louisville
776 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDUT0010003    United Way of Northern Utah                       Welcome Baby Project                                           275,000        18 UT       Ogden
777 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHAL0010006    Butler County Board of Education                  AmeriCorps Instructional Support Team                          236,324        20 AL       Greenville
778 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010009    WASHINGTON STATE OFFICE OF FINANCIAL M Placeholder WA Cost Reimbursement                                         974,542         0 WA       Olympia
779 Days of Service               IPB          Direct                           23BIDCO001        High Country Volunteers                           High Country Volunteers Day of Service                         100,000           CO       Glenwood Springs




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780 AmeriCorps State and National EAS          Commission Sub   Formula         23FXBDE0010005    LITERACY DELAWARE, INC.                          Literacy Volunteers Serving Adults northern Delaware,         129,330        11 DE       Wilmington
781 AmeriCorps State and National EAS          Commission Sub   Formula         23FXBDE0010007    TEENSHARP A NJ NONPROFIT CORP                    TeenSHARP                                                      49,140         6 DE       Wilmington
782 AmeriCorps State and National EAS          Commission Sub   Formula         23FXHAL0010001    TEACH FOR AMERICA INC                            Teach For America-Alabama                                      60,000        60 NY       New York
783 AmeriCorps State and National EAS          Commission Sub   Formula         23FXHSC0010006    SUSTAINABILITY INSTITUTE                         SUSTAINABILITY INSTITUTE II                                   270,000        14 SC       North Charleston
784 Volunteer Generation Fund     VGF          Direct                           23VGCKY001        Partners for Rural Impact, Inc                   PRI Volunteer Generation Center                               629,420           KY       Berea
785 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACICA0010001    CITY YEAR, INC.                                  City Year Los Angeles                                       5,000,000       215 MA       Boston
786 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACICA0010005    City of Ontario                                  Ontario Promise Corps                                         368,000        16 CA       Ontario
787 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010005    Princeton Senior Resource Center                 "Third Act:A Purposeful Retirement"                            84,956         0 NJ       Princeton
788 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010008    United Way of Genesee County                     Flint Climate Corps                                           371,725        20 MI       Flint
789 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010006    NORTHERN ARIZONA UNIVERSITY                      Environmental Steward AmeriCorp                               499,750        55 AZ       Flagstaff
790 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010001    Mountain Roots Food Project                      Mountain Roots Healthy Futures                                473,747        39 CO       Gunnison
791 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010008    THE STATE HISTORICAL SOCIETY OF COLORADHistory Colorado AmeriCorps                                             200,000        12 CO       Denver
792 AmeriCorps State and National STATE        Commission Sub   Formula         24AFFRI0010002    Save the Bay, Inc.                               Save The Bay AmeriCorps Program                               234,000         9 RI       Providence
793 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGAR0010002    Family Scholar House, Inc                        Family Scholar House Planning Grant                            99,850         0 KY       Louisville
794 AmeriCorps State and National STATE        Commission Sub   Formula         24AFIOR0010003    The Salvation Army                               The Salvation Army-Grants Pass Corps                          269,999        10 OR       Happy Valley
795 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSDNM001        Albuquerque Sign Language Academy                The Albuquerque Sign Language Academy II                       40,000         6 NM       Albuquerque
796 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSGMS001        THE UNIVERSITY OF MISSISSIPPI                    North Mississippi VISTA Project                                60,000        27 MS       University
797 AmeriCorps VISTA              VISTAS       Direct           Standard        16VSANJ002        HOUSING & COMMUNITY DEVELOPMENT NETWHousing and Community Development Network of New                               -           5 NJ       Trenton
798 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSSSC002        CHARLESTON, CITY OF                              City of Charleston, MOCYF                                      13,375         9 SC       Charleston
799 AmeriCorps State and National STATE        Commission Sub   Competitive     20ACHWA0010003    College Possible                                 College Possible - Washington                                 624,999        25 MN       Saint Paul
800 AmeriCorps State and National EAS          Commission Sub   Competitive     20ESHKY0010003    CHRISTIAN APPALACHIAN PROJECT, INC.              Christian Appalachian Project AmeriCorps                      505,050       120 KY       Paintsville
801 AmeriCorps State and National EAS          Commission Sub   Formula         20FXHOR0010002    University of Oregon                             RARE 2022-2025                                                796,250        35 OR       Eugene
802 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACEWI0010010    Wisconsin Association for Homeless and RunawWisconsin Association for Runaway Services                         359,500        17 WI       Wisconsin Dells
803 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACFMA0010013    FRANKLIN COUNTY D.I.A.L S.E.L.F INC              DIAL/SELF AmeriCorps Program                                  530,839        28 MA       Greenfield
804 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACFNY0010003    THE SERVICE COLLABORATIVE OF WNY INC ABLE Early Childhood Program                                              592,046        55 NY       Buffalo
805 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010021    LifeLong Medical Care                            LifeLong AmeriCorps Health Fellows                            250,000        10 CA       Berkeley
806 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBNJ0010022    The United Advocacy Group Inc                    United Advocacy Group Inc.                                    436,673        37 NJ       Bridgeton
807 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010015    Wayne State University                           AmeriCorps READY                                              273,225        18 MI       Detroit
808 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010030    MICHIGAN DEPARTMENT OF ENVIRONMENT, GMI Healthy Climate Corps                                                1,187,474        44 MI       Lansing
809 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDID0010004    State Of Idaho Department Of Labor               Placeholder ID Cost Reimbursement                             420,635         0 ID       Boise
810 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010009    KANSAS ASSOCIATION FOR CONSERVATION & Kansas Association for Conservation and Environmenta                     162,000         6 KS       Manhattan
811 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHFL0010019    GULF SPECIMEN MARINE LABORATORIES INC Gulf Specimen Marine Lab - Environmental Stewardshi                      264,655        10 FL       Panacea
812 AmeriCorps State and National STATE        Commission Sub   Formula         21AFHSC0010030    Clemson University                               Clemson University - CEDC Planning                            149,934         0 SC       Clemson
813 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010018    University Of California, Los Angeles            UCLA College Corps                                                -         105 CA       Los Angeles
814 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSEMN002        SEED COALITION                                   Iowa and Minnesota Campus Compact VISTA Project               179,915        19 MN       Minneapolis
815 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSHFL001        MCCJ, INC                                        Mosaic Miami VISTA Project                                     27,000         2 FL       Miami
816 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSHGA005        Georgia State University Research Foundation I GSU- Alonzo A. Crim Center Runaway and Homeless Yo               74,940         7 GA       Atlanta
817 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACHGA0010001    ONE WORLD LINK , INC.                            OWL Public Health Corps                                       835,031        37 GA       Atlanta
818 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010014    Homewood Childrens Village                       HCV AmeriCorps                                                279,158        16 PA       Pittsburgh
819 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010026    Appalachia Intermediate Unit 8                   Pennsylvania Mountain Service Corps/AmeriCorps              1,438,728        79 PA       Altoona
820 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010008    PUERTO RICO COMMONWEALTH OF                      Placeholder PR Cost Reimbursement                             634,462         0 PR       San Juan
821 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010009    Puerto Rico Youth At Risk Inc                    Socio Educational Service Continuum                            94,987        10 PR       San Juan
822 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010017    Friends of Puerto Rico                           Pathways to Success                                            78,016         5 DC       Washington
823 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFME0010009    Hospice Volunteers of Somerset County, Inc. Future HVOSC Volunteers                                             40,500         0 ME       Skowhegan
824 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010007    Mental Health Association of Columbia-Greene Hudson PROMISE Corps                                            1,075,377        66 NY       Hudson
825 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010033    Family Scholar House, Inc                        HealthCorps TX Planning Grant                                  99,992         0 KY       Louisville
826 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESIWA0010006    EarthCorps                                       EarthCorps Corps Program                                      736,000        36 WA       Seattle
827 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHFL0010007    Metropolitan Ministries Inc                      Metropolitan Ministries AmeriCorps                            640,980        34 FL       Tampa
828 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHFL0010009    CENTRO CAMPESINO FARMWORKER CENTER, YouthPride                                                                 270,000        20 FL       Homestead
829 AmeriCorps State and National NATL         Direct           Competitive     22NDBVA002        CATHOLIC CHARITIES USA                           CCUSA Healthcare Outreach Program                             314,306        14 VA       Alexandria
830 AmeriCorps State and National NATL         Direct           Competitive     22NDDNM004        Rocky Mountain Youth Corps                       RMYC Public Health Crew                                        74,949         4 NM       Taos
831 AmeriCorps State and National NATL         Direct           Competitive     22NDIOR002        Jesuit Volunteer Corps: Northwest                Jesuit Volunteer Corps NW                                     908,689        35 OR       Milwaukie
832 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSCOH001        Columbus Metropolitan Housing Authority          Columbus Metropolitan Housing Authority                        50,000        15 OH       Columbus
833 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSDUT003        UTAH COMMISSION ON SERVICE AND VOLUNTRural Economic Opportunity                                                 60,000        10 UT       Salt Lake City
834 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACCIN0010001    The Health Foundation of Greater Indianapolis I Community Health Partners                                      917,957        34 IN       Indianapolis
835 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010002    Academy for Urban School Leadership              Academy for Urban School Leadership (AUSL)                  1,642,997       115 IL       Chicago
836 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010013    BOYS AND GIRLS CLUB OF DUNDEE TOWNSHI Americorps Youth Education & Enrichment                                  320,924        20 IL       Carpentersville
837 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010016    SPRINGFIELD, CITY OF                             Youth Economic Opportunities Initiative                       175,500        20 IL       Springfield
838 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDMT0010006    Family Scholar House, Inc                        Family Scholar House, Inc                                      98,937         0 KY       Louisville
839 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDMT0010007    MONTANA DEPARTMENT OF LABOR INDUSTRY Placeholder MT Cost Reimbursement                                         222,477         0 MT       Helena
840 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHAL0010011    Goodwilll Industries of the Southern Rivers, Inc Goodwilll Industries of the Southern Rivers, Inc               99,066         7 GA       Columbus
841 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010014    California Conservation Corps                    CCC/AmeriCorps Backcountry Trails Program                     499,985        80 CA       Sacramento
842 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010008    THE SALVATION ARMY                               THE SALVATION ARMY                                                -           0 WA       Seattle
843 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010011    Tacoma Community Boat Builders                   Imagine Justice Project                                       594,000        24 WA       Tacoma
844 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFME0010006    WHITE PINE PROG RAMS                             White Pine & AmeriCorps Nature-Based Intervention In           94,500         5 ME       York




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845 AmeriCorps Seniors            SCP          Direct           Stipended       23SCHSC001        Senior Services Inc of Chester County             AmeriCorps Senior Chester County SCP                           185,749       26 SC       Chester
846 AmeriCorps VISTA              VISTAS       Direct           Standard        23VSDNM001        The Regents of New Mexico State University        DACC Career & Life Skills Academy                                  -          2 NM       Las Cruces
847 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSFNY004        THE SERVICE COLLABORATIVE OF WNY INC THE SERVICE COLLABORATIVE OF WNY INC                                        120,000       25 NY       Buffalo
848 AmeriCorps VISTA              VISTAS       Direct           Standard        23VSHGA006        Captain Planet Foundation                         Captain Planet Foundation 2025                                     -          3 GA       Atlanta
849 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSHNC003        North Carolina Housing Coalition                  North Carolina Housing Coalition                                25,000        4 NC       Durham
850 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSINV001        NEVADA VOLUNTEERS                                 Nevada Volunteers VISTA                                         30,000        3 NV       Reno
851 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010002    Vista College Preparatory, Inc.                   Vista College Preparatory, Inc. II                             494,629       21 AZ       Phoenix
852 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010010    MARICOPA, COUNTY OF                               Providing Access to Court Services                             265,972       35 AZ       Phoenix
853 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010010    Public Health Institute                           CivicSpark Colorado                                            250,000       10 CA       Oakland
854 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGAR0010008    Southern Arkansas University                      Saddle Up and Serve                                            100,000        0 AR       Magnolia
855 AmeriCorps State and National STATE        Commission Sub   Formula         24AFIOR0010004    College Possible                                  College Possible IV                                            900,000       36 MN       Saint Paul
856 AmeriCorps State and National EAS          Commission Sub   Formula         24FXICA0010001    State Center Community College District           Fresno City College College Corps                                  -         40 CA       Fresno
857 AmeriCorps VISTA              VISTAS       Direct           Support Grant   12VSSGA004        University of Georgia                             UGA VISTA Network Project                                       40,000       22 GA       Athens
858 AmeriCorps VISTA              VISTAS       Direct           Support Grant   15VSADE002        DELAWARE DEPARTMENT OF STATE                      Delaware Division of Libraries                                  15,000        8 DE       Dover
859 AmeriCorps VISTA              VISTAS       Direct           Standard        18VSWMO002        EarthDance                                        EarthDance                                                         -          6 MO       Ferguson
860 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSWLA002        BOYS & GIRLS CLUB OF NORTH LOUISIANA              Boys & Girls Clubs of North Louisiana                           25,000        6 LA       Ruston
861 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHCA0010015    GRID Alternatives                                 GRID Alternatives California SolarCorps                        756,001       35 CA       Emeryville
862 AmeriCorps State and National EAS          Commission Sub   Formula         20FXHME0010006    Community Service, Maine Commission for           PLACEHOLDER ME FIXED FORMULA                                   368,325        0 ME       Augusta
863 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACBMD0010010    Civic Works, Inc.                                 Civic Works Service Corps                                      496,152       61 MD       Baltimore
864 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010019    Safe Passages                                     Elev8 Youth Program                                            450,844       34 CA       Oakland
865 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010029    Child Abuse Prevention Council of Sacramento CA Foster Youth Inititative                                       1,162,500       65 CA       North Highlands
866 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBNJ0010025    Rutgers The State University                      New Jersey School Food Waste                                   189,000       10 NJ       New Brunswick
867 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCMI0010017    Community Economic Development                    CEDAM's AmeriCorps                                             244,929       11 MI       Lansing
868 AmeriCorps State and National STATE        Commission Sub   Formula         21AFDCO0010045    Kids At Their Best                                Planning Grant                                                  89,481        0 CO       Fort Morgan
869 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEIA0010027    The University of Iowa                            Homegrown Solutions for All AmeriCorps Planning Gran           100,000        0 IA       Iowa City
870 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEKS0010008    Center for Supportive Communities Inc             SupportED                                                      166,746       30 KS       Lawrence
871 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEWI0010026    Ascendium Education Solutions, Inc.               Ascendium Education Solutions dba Lawyers for Learn             74,228        0 WI       Madison
872 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSBDE001        Health and Social Services, Department of         Governor's Commission on Community & Volunteer Se               19,000       22 DE       New Castle
873 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSGAR003        UNIVERSITY OF ARKANSAS FOR MEDICAL SCIEUniversity of Arkansas for Medical Sciences                                85,000       20 AR       Little Rock
874 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACEKS0010001    UNIFIED GOVERNMENT OF WYANDOTTE COUNWYCO Public Health Corps                                                     216,000       16 KS       Kansas City
875 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACFMA0010002    City of Lawrence                                  Safe and Healthy Homes in Lawrence and Methuen, MA             324,000       12 MA       Lawrence
876 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020022    Howard EcoWorks, Inc.                             Americorps Planning Grant - Howard EcoWorks                    102,421        0 MD       Columbia
877 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010005    LYCOMING-CLINTON COUNTIES COMMISSIONRecovery Lycoming-Clinton/STEP                                               482,380       28 PA       Williamsport
878 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPR0010019    Iniciativa Comunitaria de Investigación Inc.      Iniciativa Comunitaria de Investigación, Inc.                   51,312        3 PR       San Juan
879 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBVA0010019    United Way of Henry County & Martinsville, Inc. AmeriCorps MHC                                                   700,380       49 VA       Martinsville
880 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010018    Barnstable, County of                             AmeriCorps Cape Cod Program                                    499,999       20 MA       Barnstable
881 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGMS0010013    THE UNIVERSITY OF MISSISSIPPI                     Community Partnership Corps - AmeriCorps Planning G             74,970        0 MS       University
882 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010015    Collegiate Edu-Nation                             CEN AmeriCorps                                                 807,676       32 TX       Roscoe
883 AmeriCorps State and National STATE        Commission Sub   Formula         22AFINV0010010    Healthy Communities Coalition of Lyon & StoreyHealthy Communities Coalition LIFT                                 335,392       20 NV       Dayton
884 AmeriCorps State and National EAS          Commission Sub   Formula         22FXDUT0010002    State of Utah Cultural and Community EngagemUtah STEM Action Center                                              277,100       33 UT       Millcreek
885 AmeriCorps State and National EAS          Commission Sub   Formula         22FXDUT0010006    Community Rebuilds                                Community Rebuilds (Choose this one)                           249,000       10 UT       Moab
886 AmeriCorps State and National EAS          Commission Sub   Formula         22FXHTN0010005    Knoxville Knox County Community Action CommEnvironmental Corps                                                 1,068,550       43 TN       Knoxville
887 AmeriCorps VISTA              VISTAS       Direct           Standard        22VSBDC003        Reading Is Fundamental                            Reading Is Fundamental VISTA Project                               -          5 DC       Washington
888 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACCIN0010002    INDIANA DEPARTMENT OF HEALTH                      IDOH Public Health Corps                                       195,596       14 IN       Indianapolis
889 AmeriCorps State and National STATE        Commission Sub   Competitive     23ACIWA0010001    Educational Service District 101                  Spokane Service Team                                           366,955       50 WA       Spokane
890 AmeriCorps State and National STATE        Commission Sub   Formula         23AFBDE0010004    Family Promise of Northern New Castle County Family Promise of Northern New Castle County, Inc.                   40,721        0 DE       Wilmington
891 AmeriCorps State and National STATE        Commission Sub   Formula         23AFEMO0010002    Child Abuse Prevention Association                Child Abuse Prevention Association (CAPA)                      266,701       31 MO       Independence
892 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010016    Napa County Office of Education                   Neighbor to Neighbor Operating Grant                           540,000       20 CA       Napa
893 Days of Service               IPB          Direct                           23BIEIA001        Volunteer Service, Iowa Commission On             Iowa September 11th Day of Service 2024                        210,199          IA       Des Moines
894 AmeriCorps State and National EAS          Commission Sub   Competitive     23ESFRI0010001    TerraCorps, Inc.                                  TerraCorps RI - Fixed                                          300,000       12 NH       Windham
895 AmeriCorps State and National EAS          Commission Sub   Formula         23FXDID0010002    TEACH FOR AMERICA INC                             Teach For America Idaho                                         35,000       35 NY       New York
896 AmeriCorps State and National EAS          Commission Sub   Formula         23FXEMO0010001    Eldon R 1 School District                         AmeriCorps Eldon/Eldon School District                         598,000       26 MO       Eldon
897 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFME0010007    Alpha Legal Foundation                            AmeriCorps Legal Access Navigators                              81,000        3 ME       Portland
898 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFVT0010002    Vermont Housing and Conservation Brd              Vermont Housing and Conservation Board                         686,683       34 VT       Montpelier
899 AmeriCorps State and National TRIBES       Direct           Competitive     23TNEMN001        RED LAKE BAND OF CHIPPEWA INDIANS                 Service to New Scholars                                        323,406       12 MN       Redlake
900 Volunteer Generation Fund     VGF          Direct                           23VGBNJ001        STATE, NEW JERSEY DEPARTMENT OF                   Jersey Strong: I Am A Volunteer                                579,360          NJ       Trenton
901 Volunteer Generation Fund     VGF          Direct                           23VGEMN004        ServeMinnesota                                    Volunteer Generation                                           315,254          MN       Minneapolis
902 AmeriCorps VISTA              VISTAS       Direct           Program Grant   23VSBPA004        PARTNERS FOR CAMPUS COMMUNITY ENGAG PARTNERS FOR CAMPUS COMMUNITY ENGAGEMENT                                   2,500,752       60 PA       Harrisburg
903 AmeriCorps VISTA              VISTAS       Direct           Support Grant   23VSCMI008        Crim Fitness Foundation                           Neighborhood Impact                                             12,496        7 MI       Flint
904 AmeriCorps VISTA              VISTAS       Direct           Standard        23VSHSC003        New Alpha Community Development Corporati New Alpha's Healthy Futures Program                                        -          2 SC       Florence
905 AmeriCorps State and National STATE        Commission Sub   Competitive     24ACEWI0010003    Milwaukee Christian Center, Inc.                  Milwaukee Christian Center - YouthCorps                        229,360       22 WI       Milwaukee
906 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010007    St. Paul's Community Development Corporatio St. Pauls CDC-AmeriCorps*State Program                               349,636       22 NJ       Paterson
907 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCMI0010003    Family Scholar House, Inc                         FSH HealthCorps MI                                             741,718       45 KY       Louisville
908 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDAZ0010012    THE BE KIND PEOPLE PROJECT                        Social and emotional education for K-8 learning improv         380,359       41 AZ       Phoenix
909 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHFL0010001    Florida Introduces Physical Activity and Nutritio FLIPANY Healthy Futures AmeriCorps                             296,239       33 FL       Fort Lauderdale




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910 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHFL0010005    Goodwill Industries of South Florida Inc       EMPOWER Project                                                74,923         0 FL       Miami
911 AmeriCorps State and National EAS          Commission Sub   Formula         24FXIAK0010001    SITKA SCHOOL DISTRICT                          Sitka AmeriCorps                                              405,000        15 AK       Sitka
912 AmeriCorps Seniors            RSVP         Direct           Non-stipended   24SRFMA002        Old Colony Elder Services, Inc.                Old Colony Elder Services, Inc.                               136,132       304 MA       Brockton
913 AmeriCorps VISTA              VISTAS       Direct           Support Grant   17VSNMN001        Ecolibrium3                                    Ecolibrium3 VISTA Corps                                       112,500        23 MN       Duluth
914 AmeriCorps VISTA              VISTAS       Direct           Standard        18VSWKS006        Young Men's Christian Association of Greater KaYoung Men's Christian Association of Greater Kansas C             -           2 KS       Overland Park
915 AmeriCorps VISTA              VISTAS       Direct           Support Grant   19VSNOH003        Rural Action Inc                               Rural Action Rural Renewal Program.                            17,500        15 OH       The Plains
916 AmeriCorps State and National EAS          Commission Sub   Formula         20FXHMO0010002    TEACH FOR AMERICA INC                          Teach For America - Missouri                                   35,000        35 NY       New York
917 AmeriCorps VISTA              VISTAS       Direct           Standard        20VSFNY001        New York State Commission on National & ComNew York State Commission on National & Community                     -          10 NY       Rensselaer
918 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSSFL001        Florida State University                       AmeriCorps | Florida VISTA Network                             53,500        38 FL       Tallahassee
919 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACCOH0010005    College Now Greater Cleveland Inc              AmeriCorps Ohio College and Career Guides (AOCG)              774,984        32 OH       Cleveland
920 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACHFL0010013    Urban Paradise Guild Inc                       Urban Paradise Guild                                          350,000        20 FL       Miami
921 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010018    Jumpstart for Young Children, Inc.             Jumpstart California                                        2,033,443       576 MA       Boston
922 AmeriCorps State and National STATE        Commission Sub   Competitive     21ACICA0010020    Youth Action Project, Incorporated             YOUTH ACTION PROJECT, INCORPORATED                            405,000        23 CA       San Bernardino
923 AmeriCorps State and National STATE        Commission Sub   Formula         21AFBDC0010006    AFTER-SCHOOL ALL-STARS                         After-School All-Stars                                        108,000         4 CA       Los Angeles
924 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCOH0010009    The Ohio Historical Society                    The Ohio History Service Corps                                230,245        10 OH       Columbus
925 AmeriCorps State and National STATE        Commission Sub   Formula         21AFCOH0010015    Ohio Campus Compact                            Student Resource Centers                                      283,766        21 OH       Newark
926 AmeriCorps State and National STATE        Commission Sub   Formula         21AFEIA0010030    CONSERVATION CORPS                             Conservation Corps Iowa AmeriCorps - Formula                  431,913        15 MN       Saint Paul
927 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGAR0010005    University of Arkansas-Fort Smith              UAFS AmeriCorps Program                                       202,630        38 AR       Fort Smith
928 AmeriCorps State and National STATE        Commission Sub   Formula         21AFGAR0010008    BIG BROTHERS BIG SISTERS OF CENTRAL ARKABIG BROTHERS BIG SISTERS OF CENTRAL ARKANSAS A                        69,234         0 AR       Little Rock
929 AmeriCorps State and National EAS          Commission Sub   Formula         21FXGTX0010004    Communities In Schools of San Antonio          Communities In Schools of San Antonio                         795,517       115 TX       San Antonio
930 AmeriCorps State and National EAS          Commission Sub   Formula         21FXICA0010030    University Enterprises Corporation at CSUSB University Enterprises Corporation at CSUSB II                       -          50 CA       San Bernardino
931 AmeriCorps VISTA              VISTAS       Direct           Support Grant   21VSEKS001        Wichita State University                       Wichita State University CEI II                               105,000        23 KS       Wichita
932 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACBVA0010003    RICHMOND, CITY OF                              RVA Health Corps                                              431,317        16 VA       Richmond
933 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACCIL0010001    Association House of Chicago                   Association House of Chicago PHA                              229,500         9 IL       Chicago
934 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACEWI0010001    WISCONSIN ASSOCIATION OF FREE & CHARITAWisconsin Association of Free & Charitable Clinics, Inc               811,242        34 WI       Pewaukee
935 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACFNY0010002    Concrete Safaris Inc                           PlacemakingCorps                                              639,956        61 NY       New York
936 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACFNY0010004    Public Health Solutions                        Public Health Solutions                                       108,000         5 NY       New York
937 AmeriCorps State and National STATE        Commission Sub   Competitive     22ACINV0010001    Walker Basin Conservancy                       Walker Basin Conservancy AmeriCorps Program                   637,276        64 NV       Reno
938 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBMD0020006    MARYLAND DEPARTMENT OF SERVICE AND CIVPLACEHOLDER MD                                                       2,127,731         0 MD       Annapolis
939 AmeriCorps State and National STATE        Commission Sub   Formula         22AFBPA0010018    The Foundation for Delaware County             Planning Grant Chester ExChange                                40,534         0 PA       Media
940 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010013    Legal Assistance of Western New York, Inc.     Access to Justice Project                                     302,400        24 NY       Geneva
941 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010017    Center for Family Life in Sunset Park, Inc.    Sunset Park Community Corps - Center for Family Life          737,100        78 NY       Brooklyn
942 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010027    New York State Commission on National & ComPlaceholder PY2024 NY Cost Reimbursement                        1,782,777         0 NY       Rensselaer
943 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESIWA0010005    THE STUDENT CONSERVATION ASSOCIATION, SCA Washington AmeriCorps                                              260,500        20 VA       Arlington
944 AmeriCorps State and National EAS          Commission Sub   Formula         22FXCIN0010004    Family Scholar House, Inc                      HealthCorps IN                                                249,934        20 KY       Louisville
945 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010005    City of Peoria                                 PeoriaCorps                                                   161,998        12 IL       Peoria
946 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010011    CHICAGO HEIGHTENING OPPORTUNITY & POTChicago Heightening Opportunity and Potential for Edu                   222,532        32 IL       Chicago
947 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCKY0010001    HEALTH SERVICES KENTUCKY CABINET FOR Placeholder KY Cost Reimbursement                                       276,657         0 KY       Frankfort
948 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDMT0010005    Montana State University                       MORH/AHEC MT AmeriCorps Planning Grant                        100,000         0 MT       Bozeman
949 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDUT0010007    Weber State University                         WSU USERVE AmeriCorps Planning Grant 2024                      42,589         0 UT       Ogden
950 AmeriCorps State and National STATE        Commission Sub   Formula         23AFDWY0010004    University of Wyoming **                       Wyoming Conservation Corps                                    262,556        44 WY       Laramie
951 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHTN0010001    Emerald Youth Foundation                       T.E.A.M.                                                      379,852        73 TN       Knoxville
952 AmeriCorps State and National NATL         Direct           Competitive     23NDBPA001        ArtistYear                                     ArtistYear                                                    775,000        31 PA       Philadelphia
953 AmeriCorps Seniors            RSVP         Direct           Non-stipended   23SRFMA004        SeniorCare, Inc.                               SeniorCare RSVP Volunteers of the North Shore                  63,291       300 MA       Gloucester
954 Volunteer Generation Fund     VGF          Direct                           23VGCKY002        NORTHERN KENTUCKY UNIVERSITY RESEARCHEngageKY+                                                             1,658,445           KY       Newport
955 AmeriCorps State and National STATE        Commission Sub   Formula         24AFBNJ0010004    NJ COALITION TO END HOMELESSNESS, A NEWHelping Homeless Individuals become Housing Ready                     404,999        15 NJ       Lawrenceville
956 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCOH0010006    Lake Erie College                              Lake Erie College Planning Grant                               58,707         0 OH       Painesville
957 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010005    Parent Possible                                Colorado HIPPYCorps                                           462,494        37 CO       Denver
958 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010011    Adams State University                         Planning Grant                                                 72,990         0 CO       Alamosa
959 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDID0010001    IDAHO STATE UNIVERSITY                         Idaho Financial Literacy Initiative Planning Grant             75,000         0 ID       Pocatello
960 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDNM0010001    Dream Tree Project                             Enchanted Circle Corps                                        128,161        10 NM       Taos
961 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGLA0010004    University of Louisiana at Lafayette           UL Lafayette AmeriCorps Community Service Program             110,436        30 LA       Lafayette
962 AmeriCorps State and National STATE        Commission Sub   Formula         24AFGOK0010001    American YouthWorks                            Oklahoma Tribal Conservation Corps Planning Grant              61,402         0 TX       Austin
963 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHNC0010001    EAST CAROLINA UNIVERSITY                       CARE Corps (Collaborative Action in Rural Education)          728,963        77 NC       Greenville
964 AmeriCorps State and National EAS          Commission Sub   Formula         24FXFNH0010001    Volunteer NH                                   Placeholder NH Fixed Amount                                   222,646         0 NH       Concord
965 AmeriCorps State and National EAS          Commission Sub   Formula         24FXFNH0010003    Squam Lakes Association                        Lakes Region Conservation Corps                               567,000        30 NH       Holderness
966 AmeriCorps State and National TRIBES       Direct           Competitive     24TNENE001        Ponca Economic Development Corporation (PE Ponca Economic Development Corp (PEDCO)                           144,938         0 NE       Lincoln
967 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSDCO006        The Schreiber Research Group (TSRG)            The Schreiber Research Group (TSRG)                            40,000         2 CO       Denver
968 AmeriCorps VISTA              VISTAS       Direct           Support Grant   11VSADC003        George Washington University (The)             Nashman Center for Civic Engagement and Public Serv            20,000        18 DC       Washington
969 AmeriCorps VISTA              VISTAS       Direct           Support Grant   14VSAMA004        BOSTON MEDICAL CENTER CORPORATION              Boston Medical Center Pediatrics VISTA Intermediary            78,500        15 MA       Boston
970 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHCA0010018    Community Clinic Association of Los Angeles C CCALAC AmeriCorps Health Fellows                               538,794        24 CA       Los Angeles
971 AmeriCorps State and National STATE        Commission Sub   Formula         20AFHWA0010011    Chelan-Douglas County Community Action CouAmeriCorps of Chelan Douglas Community Action Cou                  513,000        20 WA       Wenatchee
972 AmeriCorps State and National EAS          Commission Sub   Formula         20FXHAL0010002    THE STUDENT CONSERVATION ASSOCIATION, SCA Alabama Conservation Corps                                         216,000        24 VA       Arlington
973 AmeriCorps State and National EAS          Commission Sub   Formula         20FXHRI0020006    THE HIGHLANDER CHARTER SCHOOL                  Highlander Charter School II                                  104,000         4 RI       Providence
974 AmeriCorps VISTA              VISTAS       Direct           Support Grant   20VSWAZ003        Prescott College Inc                           PRESCOTT COLLEGE                                               78,000        19 AZ       Prescott




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975 AmeriCorps State and National STATE         Commission Sub   Competitive     21ACCIL0020002    Public Allies Inc                              Public Allies Chicago                                        761,799        32 WI       Milwaukee
976 AmeriCorps State and National STATE         Commission Sub   Competitive     21ACCKY0010005    Hindman Settlement School                      ReadingCorps                                                 714,084        32 KY       Hindman
977 AmeriCorps State and National STATE         Commission Sub   Competitive     21ACCMI0010010    Wayne State University                         AmeriCorps Urban Safety Program                            1,313,475       111 MI       Detroit
978 AmeriCorps State and National STATE         Commission Sub   Competitive     21ACFNY0010005    Sunset Park Health Council, Inc.               Sunset Park AmeriCorps                                       239,688        13 NY       Brooklyn
979 AmeriCorps State and National STATE         Commission Sub   Competitive     21ACICA0010023    JUDICIAL COUNCIL OF CALIFORNIA                 California JusticeCorps                                    2,197,826       299 CA       San Francisco
980 AmeriCorps State and National STATE         Commission Sub   Competitive     21ACICA0010035    916 Ink                                        916 Ink AmeriCorps                                           463,853        30 CA       Sacramento
981 AmeriCorps State and National STATE         Commission Sub   Formula         21AFBDC0010011    Kid Power, Inc.                                Kid Power, Inc.                                              158,921         6 DC       Washington
982 AmeriCorps State and National STATE         Commission Sub   Formula         21AFCMI0010031    MICHIGAN DEPARTMENT OF ENVIRONMENT, GMI Clean Energy Corps Planning Grant                                   240,000         0 MI       Lansing
983 AmeriCorps State and National STATE         Commission Sub   Formula         21AFCOH0010006    TINKERS CREEK WATERSHED PARTNERS, INC NOWCorps                                                              766,595        32 OH       Twinsburg
984 AmeriCorps State and National STATE         Commission Sub   Formula         21AFCOH0010011    Breakthrough Cincinnati Inc                    Breakthrough Cincinnati Teaching Fellowship                  388,512        68 OH       Cincinnati
985 AmeriCorps State and National STATE         Commission Sub   Formula         21AFDCO0010025    The Learning Source                            The Learning Source                                          250,000        21 CO       Denver
986 AmeriCorps State and National STATE         Commission Sub   Formula         21AFDNM0010001    STATE OF NEW MEXICO WORKFORCE SOLUTIOPlaceholder NM Cost Reimbursement                                      304,626         0 NM       Albuquerque
987 AmeriCorps State and National STATE         Commission Sub   Formula         21AFEKS0010011    BOYS & GIRLS CLUB OF MANHATTAN INC             BOYS & GIRLS CLUB OF MANHATTAN INC                         1,383,200        72 KS       Manhattan
988 AmeriCorps State and National STATE         Commission Sub   Formula         21AFEWI0010007    North Central Community Action Program Inc NCCAP AmeriCorps Team- Greater Wausau Area                       448,463        52 WI       Wisconsin Rapids
989 AmeriCorps State and National STATE         Commission Sub   Formula         21AFGAR0010009    KIWANIS ACTIVITIES OF LITTLE ROCK, ARKANSAPfeifer Camp                                                      261,900        22 AR       Little Rock
990 AmeriCorps State and National STATE         Commission Sub   Formula         21AFHSC0010017    Trident United Way                             Financial Stability Project                                  202,899        17 SC       North Charleston
991 AmeriCorps VISTA              VISTAS        Direct           Support Grant   21VSBDC001        AFTER-SCHOOL ALL-STARS                         Strengthening Communities                                     25,000        17 CA       Los Angeles
992 AmeriCorps VISTA              VISTAS        Direct           Standard        21VSCMI006        MICHIGAN DEPARTMENT OF LABOR AND ECONMCSC Community Resilience Project                                          -          50 MI       Okemos
993 AmeriCorps VISTA              VISTAS        Direct           Support Grant   21VSDID003        State Of Idaho Department Of Labor             Serve Idaho The Governor's Commission on Service and          60,000        20 ID       Boise
994 AmeriCorps State and National STATE         Commission Sub   Competitive     22ACBNJ0010001    Zufall Health Center                           Zufall Health Center Public Health AmeriCorps                269,991        10 NJ       Dover
995 AmeriCorps State and National STATE         Commission Sub   Competitive     22ACCMI0010002    COUNTY OF INGHAM                               ICHD Public Health AmeriCorps Program                        270,000        10 MI       Lansing
996 AmeriCorps State and National STATE         Commission Sub   Competitive     22ACEWI0010003    MARSHFIELD CLINIC, INC.                        MCHS AmeriCorps Public Health Community Corps              2,160,000        80 WI       Marshfield
997 AmeriCorps State and National STATE         Commission Sub   Competitive     22ACIAK0010001    ADMINISTRATION, ALASKA DEPARTMENT OF PDA SAME Social Advocate AmeriCorps Members Ensu                       315,734        14 AK       Juneau
998 AmeriCorps State and National STATE         Commission Sub   Formula         22AFBPR0010020    COCO PUERTO RICO INC                           COCO PUERTO RICO INC                                          42,237         3 PR       Isabela
999 AmeriCorps State and National STATE         Commission Sub   Formula         22AFBVA0010031    United Way of Greater Richmond & Petersburg Planning Grant - United Way of Greater Richmond & Pe            178,138         0 VA       Richmond
1000 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFMA0010003    FRANKLIN COUNTY D.I.A.L S.E.L.F INC            DIAL/SELF Restorative Relationships Corps                    250,562        10 MA       Greenfield
1001 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010001    New York State Dispute Resolution Association Mediation Corps                                               609,770        68 NY       Albany
1002 AmeriCorps State and National STATE        Commission Sub   Formula         22AFFNY0010016    THE SERVICE COLLABORATIVE OF WNY INC Buffalo Service Corps                                                  562,734        53 NY       Buffalo
1003 AmeriCorps State and National STATE        Commission Sub   Formula         22AFGTX0010020    Campus Compact                                 College Renaissance Corps Texas                              283,492        15 MA       Boston
1004 AmeriCorps State and National EAS          Commission Sub   Competitive     22ESIWA0010004    WASHINGTON STATE DEPARTMENT OF EMPLO Washington Reading Corps-Fixed                                       1,742,680        76 WA       Olympia
1005 AmeriCorps State and National EAS          Commission Sub   Formula         22FXCKY0010006    Ohio Valley Educational Cooperative            Ohio Valley Educational Cooperative                          778,765        73 KY       Shelbyville
1006 AmeriCorps State and National NATL         Direct           Competitive     22NDBMD003        Baltimore Corps, Inc                           Baltimore Community Health Corps                           2,160,000        80 MD       Baltimore
1007 AmeriCorps State and National NATL         Direct           Competitive     22NDHCA001        LEEZA GIBBONS MEMORY FOUNDATION, INC. Leeza Gibbons Memory Foundation, Inc                                  540,000        20 CA       West Hollywood
1008 AmeriCorps VISTA              VISTAS       Direct           Standard        22VSBVA004        Literacy Lab, The                              The Literacy Lab VISTA                                           -           4 DC       Washington
1009 AmeriCorps VISTA              VISTAS       Direct           Support Grant   22VSFMA003        New Life Furniture Bank of MA                  Basic necessities support program                             42,000         9 MA       Walpole
1010 AmeriCorps VISTA              VISTAS       Direct           Standard        22VSFNY006        I Have a Dream/AmeriCorps - Parent             "I Have A Dream" Foundation                                      -          11 NY       New York
1011 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010003    Gardeneers                                     Gardeneers                                                   176,308         8 IL       Chicago
1012 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010007    Association House of Chicago                   Association House of Chicago                                 101,400         4 IL       Chicago
1013 AmeriCorps State and National STATE        Commission Sub   Formula         23AFCIL0010027    BLACK EDUCATIONAL ADVOCACY COALITION Black Educational Advocacy Coalition                                   125,000         0 IL       Mount Vernon
1014 AmeriCorps State and National STATE        Commission Sub   Formula         23AFEMN0010002    CONSERVATION CORPS                             Minnesota Energy Climate Corps II                          1,620,000        60 MN       Saint Paul
1015 AmeriCorps State and National STATE        Commission Sub   Formula         23AFHGA0010014    YOUTH VILLAGES INC                             Youth Villages AmeriCorps Program                            273,522        12 TN       Bartlett
1016 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010015    BAY AREA COMMUNITY RESOURCES, INC.             BAYAC AmeriCorps                                           1,624,998        65 CA       San Rafael
1017 AmeriCorps State and National STATE        Commission Sub   Formula         23AFICA0010017    California State University, Fresno Foundation California State University, Fresno Foundation III           190,261         0 CA       Fresno
1018 AmeriCorps State and National STATE        Commission Sub   Formula         23AFIWA0010016    Public Health Institute                        CivicSpark Washington Program                                405,000        15 CA       Oakland
1019 AmeriCorps State and National EAS          Commission Sub   Formula         23FXEMO0010003    CONSERVATION CORPS                             CCMI - Missouri Conservation and Disaster Service            125,000         5 MN       Saint Paul
1020 AmeriCorps State and National EAS          Commission Sub   Formula         23FXFNY0010001    Justice Innovation Inc.                        Community Resilience Corps                                   384,210        30 NY       New York
1021 AmeriCorps State and National NATL         Direct           Competitive     23NDGTX004        CHRISTUS Health                                CHRISTUS Health HEART Work                                   647,986        24 TX       Irving
1022 AmeriCorps Seniors            SCP          Direct           Stipended       23SCEMO002        SHEPHERDS CENTER OF KANSAS CITY CENTRAShepherd's Center Central                                             327,727        36 MO       Kansas City
1023 AmeriCorps State and National STATE        Commission Sub   Formula         24AFCOH0010002    Mercy Health Cincinnati LLC                    Mercy Health Corps                                           248,597        14 OH       Cincinnati
1024 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDCO0010004    ALPINE ACHIEVERS INITIATIVE                    Alpine Achiever Initiative                                 1,000,000        43 CO       Alamosa
1025 AmeriCorps State and National STATE        Commission Sub   Formula         24AFDNM0010002    Albuquerque Sign Language Academy              The Albuquerque Sign Language Academy                        387,162        53 NM       Albuquerque
1026 AmeriCorps State and National STATE        Commission Sub   Formula         24AFEWI0010001    STATE OF WISCONSIN DEPT OF ADMIN               Placeholder WI Cost Reimbursement                            530,550         1 WI       Madison
1027 AmeriCorps State and National STATE        Commission Sub   Formula         24AFFRI0010003    Skills for Rhode Island's Future               First-Generation College AmeriCorps Program                  156,000        12 RI       Providence
1028 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHNC0010006    VOLUNTEERISM & COMMUNITY SERVICES NC Placeholder NC Planning Grant                                          137,408         0 NC       Raleigh
1029 AmeriCorps State and National STATE        Commission Sub   Formula         24AFHSC0010002    Healthy Learners                               Healthy Learners 2020 Program Grant                          242,121        12 SC       Columbia
1030 AmeriCorps State and National EAS          Commission Sub   Formula         24FXBPA0010001    TEACH FOR AMERICA INC                          TEACH FOR AMERICA - Gr Philadelphia                          148,000       148 NY       New York
1031 AmeriCorps Seniors            SCP          Direct           Stipended       24SCCMI003        Senior Neighbors, Inc                          Kent County Senior Companion Program                           2,500        48 MI       Grand Rapids
1032 AmeriCorps VISTA              VISTAS       Direct           Support Grant   24VSDCO005        Conservation Legacy                            Energy Communities ECAP Bloomberg                            399,173        65 CO       Durango




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